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    1

                        U N ITED STATES D ISTR ICT C O UR T FO R TH E
                            SO U TH ERN D ISTRICT O F FLO R ID A


    M A CK W ELLS A N D
    M A URICE SY M ON ETTE                        CA SE N O :
    Plaintiffs

    Vs.
@




                                                   CAUSES O F A CTION :
    U .S.BAN K,N ATIONA L A SSOCIATION ,AS
    TRUSTEE FOR RASC 2005 AHL3,M ERS,              1.CIV IL VIOLATION OF CON STRUCTIV E
    RESIDENTIAL FUN DIN G,JU DGE VALERIE M ANNO    FRA UD CON SPIRACY IN VIO LA TION O F
     SHURR,JU DG E JOHN SCHLESIN G ER               FED ERAL 923.18 U.S.C .SS 371 AN D .l8 U .S.C
    JUDGEDELA 0,JUDGE VERONICA DIA;                 1314AND I8U.S.C.1961(B)SECTION 20l
    JUDGE SAM ANTHA COH EIN ,V IV IANN E DEL        BRIBING
    RIO ,JUDGE SAM ANTHA CO HEN
                                                   2 .JUDGES AN D O FFICIA LS'S CONFLICTS OF
                                                   INTEREST IN V IO LATION O F FEDERA L RULE
                                                   OF CIV IL PROC RULE 60,FLORIDA RULE 2.160
    A PPELLATE JU DG E BROW NW Y N C .M ILLER      (A)(D)(H)(1)(4),FL.CODE JUD.CONDUCT
    APPELLATE JUDGE KEVIN M ICHA EL EM AS          CANON 3E (1)FL STAT.112.312 (8).IN
    APPELLATE JUD GE EDW IN SCALES,FEDERAL         V IOLATION OF FED ERAL CON STRUCTIV E
    (ûS)EXCEPT FLORIDA POW ER AND LIGHT            FRAUD COPEU18U.S.CODESS1961(A)
.   DADE COUNTY CLERK OFT)1ECOURTS
     HA RV EY RUV IN OF D EPARTM EN T OF            3.TURN ING O FF ELECTRICAL POW ER TO
    RECORDS AND DOCKET,COM M ISSION ER              DISABLED PERSON IN N EED OF OXYG EN
    REN E GA RCIA,JUDGE CA RLO S LOPEZ              IN VIOLATION OF FL.STAT.366 .15(1)42).
    Al
     3M IN.JUDGE JENNIFER BAILEY

     Defendants,                                    4.FEDERAL QUITE TITLE AGAINST FANNIE
                                                    M A E FEDERA L 28 U.S.CODE SS 2409a AN D
                                                    FL.STAT.65.021.

                                                    5.QUlTE TITLE 2005FLORIDA CODE CIVIL
                                                    PRACTICE AND PRECEDURE QUIETING
                                                    TITLE CHAPTER 65 4092410 (A)(2),IRS 34.1
                                                    1.8.1(08-11-2004)AND34.1.5(08-11-2004)AND
                                                    FL.FTAT.95.11NEW LY DISCO VERED
                                                    EV ID ENCE.AN D FRA UD FEDERA L RULE
                                                    60(B)(2)(4)AD FLA.R.OFCIV.PROC.1540.
                                                     STANDINQ CAN BEQUESTIONED ATANY
                                                    TIM E.
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                                             6.KEEPIN G NOTE A CTIVE FOR FA KE
                                              FORECLO SURE
                                             A FTER N O TE IS SO LD O N THE
                                             M A RK ET AN D D ESTROY ED !A S
                                              GO VERN ED BY THE SEC AN D
                                             U S D EPT.O F TH E TREA SURY IN
                                              VIOLA TION OF GA AP FA SB FA S
                                             140 A ND FEDEM L 2 CFR SECTION
                                             200.49.

                                             7.DA M AGES AN D DECLA M TORY
                                             RELIEF PU RSUA N T TO FAN NIE
                                             M A E,AN D U S BA NK S,THE OTH ER
                                             EN TITIES IN V IOLATION O F
                                             FEDER AL COD E 18 U .S.C 1964,18
                                             USC 1961(B)SECTION 201,ASTO
                                             BRIBIN G JU DG ES.

                                             8.VIOLA TION O F RESPA 12 U .S.C
                                             26505(E)(1)(B)QUALIFIED
                                             W RITTEN REQUEST IQW R)TILA
                                             LA W S IN VIOLA TION O F TH E
                                             ILLEG AL CON SUM E CO LLECTION
                                             IN V IOLA TION OF FD CPA ,15 U .S.C
                                             SS 1692a(3),15 U.S.C.SS1692a(5)
                                             AND FLA.STAT.55559.55BY NOT
                       1                     HONORING THE (QW R)REQUEST
                                             9.BA N K RU PTCY VIO LA TION W H AT
                                             THE CLERK S D1D :IN TERFERIN G
                                             W ITH FILIN G BAN KRU PTCY

                                             10.DA M A G ES AN D D ECLA M TORY
                                             RELIEF PURSU AN T TO FAU IE M A E
                                             U S BAN K S AN D A LL OF TH E O THER
                                             EN TITIES DlD BRIBE IN VIOLA TION
                                             FEDER AL COD E 932.18 U .S.C.SS 371
                                             FRAU D CON SPIRACY AN D 18 U .S.C
                                              1964,18U.S.C.1961(B)SECTION 201,
                                             A S TO BRIBIN G JU D GES
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                                             11.W RON GFUL FO RECLO SURE D UE
                                              TO U N SIGN ED M ORTGA G E N O TE
                       %
                                             IN VIN V IOLA TION O F FL.STA T.
                                              695.


                                              12.VIOLA TION O F TH E 14TH
                                              A M EN DM EN T AN D THE CIVIL
                                              RIG HTS A CT OF 1964 TH AT
                                              PRO HIBITS D ESCRIM IN A TION
                                              AN D D EPREVIA TION O F RIG H TS
                                              UN D ER COLOR OF LA W !TITLE 18
                                              U .S.C.


                                              13.V IO LA TION O F TH E 1958
                                              FORIGN S A G EN TS
                                              REGISTRA TION A CT F.A .R .A
                                              FED ERAL RESERVE FOREIGN
                                              BAN K IN G LA W S


                                              14TH TU RN IN G OFF ELECTRICAL
                                               PO W ER TO A DISA BLED PERSON
                                               IN N EED OF OX Y GEN IN
                                               VIOLA TION OF FL.STA T.366.15
                                               (1)(2)APRIL 22ND 2023FLORIDA
                                              PO W ER AN D LIGH T


                                              15.TH E CON SPIRIN G LA W Y ERS:
                                              N EVER BROU G HT IN N O TE,
                                              A LLON GE,M ORTGA GE OR
                                              ASSIGXMENT BECAUSETHEY
                                              D ON 'T H A VE 1T,IN VIOLA TION
                                              OF FL.STA T.702.015
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                                     CO M PLA IN T

    QUIET TITLE AND FANNIE M AE QUITE TITLE CONSTRUCTIVE
    FR AUD W ITH NO NEED TO PROVE INTENT (AXIOM ATIC)AND
    VIO LA TIO N S O F FED ER AL A ND STA TE LA W S A N D R U LES TO TA K E
    PR O PERTY BECA U SE TH E BAN K S PAID OFFICIA LS FO R IT A N D
    CO M PLA IN T FO R FL .RU LE 9.130 TO A DD C LA IM FO R PUN ITIV E
                       F            DA M A GE S




                             PAR TIES A ND JUR ISD ICTIO N




     PlaintiffM ack W ellsw hoose A dressis 300 NE 29streetPom pano Beach F1.33064

     M aurice Sym onette w hose address is 300 N E zgstreetPom pano Beach F1.33064 is

     now and ata1ltim es relevantto thisaction and a residentof Brow ard County y and

     a holder oftitle to this said property.W hose address is f5020 S.R iver D r.M iam i

     F1.33167 isnow ,atand atal1tim esrelevantto thisaction,a residentofthe County

     of BO W A RD and D AD E, State of Florida.A nd a holder of the Title to this

     purportedly said property.

     The U.S. TREA SU RY/IR S w hose address is 1500 Pennsylvania Ave., N .W .

     W ashington,D .C .20220.The UN ITED STA TES Treasury m ay have interestin this

     because the note w as sold in RIM IC w hich by law had to destroy the N ote to turn it

     into a Bond or a stock because the N ote cannotexistatthe sam e tim e as the Bond,

     because thatw ould be called double-dipping and because the N otew asdestroyed
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    The U.S.lnternalRevenue (U.S.Treasury)gave a Tax W rightofffrom the U.S.
                         1
    Treasury as a losswhich givesThe U .S.Treasury interestin the property iffound to

    beFraudulent,so thereforethetitlemustbeQuieted concem ing TheU.S.Treasury.
    QuiteTitle isthereason thatlam suing the SEC who in REM IC Facilitated the sale
    of the BON D on the M arket w hich m ade it possible for the U S dept. of

    Treasury/lR s in this Com plaint.SECURITY AN D EX CH AN GE CO M M ISSION

    whose address is 801 BrickellA V E.//1800 M iam iF1.33131.

     U .S. BAN K N A TION AL A SSOCIA TIO N , A S TRU STEE FOR RSC 2005

    AAHL3 whoose addressis in China underthe CIC (FARA)whoseAddressis 800
    N icolletM all in M inneapolis,M innesota,doing business in the County ofD AD E,

     State of FLO RIDA and is the purported TRU STEE for Securitized Trustand/or a

    purported participant in the im perfect securitization of Note and or the D eed of

     Trustasm ore particularly described in this Complaint5.

     HA RVEY RU VIN D ade County Clerk of Courts Located at 73 W .Flagler Street

     M iam i,Florida 33130.Dade County Records D epartm ent Located at Courthouse

     East22 N W 1Ststreet,2ndFloor.

     D efendant, Axiom Financial SERVICES,doing business in the County of D ade,

     State of FLO RIDA Plaintiff is further inform ed and believes,and thereon alleges,

     thatA xiom FinancialSERVICES is the Originator of thU loan Filing # 142386698

     E-Filed 01/21/2022 09:30:09 A M
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    Defendant,RESIDENTIAL FUNDING CO.LLC, (herein after known as RFC.
    LLC''),Plaintiff is informed and believe,and thereon allege that,Defendantis
    doing business in the County of DA DE,State of FLO IU DA and is the purported

    M aster Servicerfor Securitized Trustand/ora purported participantin the im perfect

    securitization oftheN ote and/orthe D eed ofTrustasm ore particularly described in

    thisCom plaint.

    Defendant,A X IO M BA N K .Plaintiff is inform ed and believe,and thereon allege

    that,D efendant is a Com oration,doing business in the County of DA DE,State of

    FLO RIDA and is the pum orted Sponsor for Securitized Trust and/or a purported

    participantin the im perfectsecuritization ofthe N ote and/or the Deed of Trustas

    m ore Particularly described in this Com plaint.

     6.MortgageElectronicRegistration Systems,INC.,akaM ERS(tûM ERS''),Plaintiff
     is inform ed and believe, and thereon allege, that M EAS is a corporation duly
     organized and existing underthe law sofDA D E,w hose lastknown address is 1818

     Library street,suite 300m ,Reston,V irgina 20190,
                                                     *website:http//w ww .m ersinc.org.

     M ER S isdoing businessin the County ofD AD E,State ofFlorida Plaintiffisfurther

     inform ed and believe,and there on allege,that DefendantM ERS is the purported

     Beneficiary underthe D eed orTrùstand/oris apurported participantin the
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    im perfect securitization ofthe N ote and/or the D eed of Trust,as m ore particularly

    described in thisQuietTitleComplaint.Comm issioner.
    Rene G arcia Plaintiff is inform ed and believe, and thereon allege, that

    Com m issionerRene G arcia is a Com m issioner doing businessat 10260 SW 56thSt.

    M iam i, Fl. 33165.A ppe11ate Judges Brow nwyn C .M iller, Judge Kevin M ichael

    Em as,Judge Edw in Scales.Bailey Plaintiff is inform ed and believe,and thereon

    allege,thatallthese Judgesare doing business atthe Third D istrictCourtofA ppeal

    2001 SW 117tbAve M iam i,F1.33175

    CircuitCourtJudges:Judge V alerie M anno Shum Judge Jolm Schlesinger,Judge

    M iguelD e La ,Judge Veronica D iaz,Judge Sam antha Cohen,Judge V ivianne D e1

    Rio,Judge CarlosLopez,A dm inistrative Judge JenniferBailey Plaintiffisinform ed

     and believe,and thereon allege,that al1these Judges are doing business at73 W est

    FlaglerSt.CourtH ouse M iam i,171.33130




                                  C LA IM FO R R ELIEF



     CLAIM FoR RELIEA forthisComplaintbringsthisaction against,U S BANK NA
Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 8 of 99



    (GM AC),fortrying to sellPlaintiffsproperty Ata Foreclosure sale to and seeking
    to evictus ata hearing O ct.14 2015 untilnow to Deprive PlaintiffofhisResidence

    w ithout any law ful elaim to the Property and for using RACISM                and

    DISCRIM IN A TION .Plaintiff lives in the State of Florida and the

    D efendantse espondents are citizens ofM innesota M inneapolis,800 N icolletM all

     55402 - and Florida.So therefore w e have a diversity of Jurisdictions which is

    Federal.Petitioners seek to bring Federalcharges ofQiscrimination,Bankruptcy
                         1
     Violations,judgesand publicofticialsConflictofInterestasto Judgesbeing paid
     off by the Bank that's against us we have new ly found evidence of Fraud in the

     Case with otherFederalcharges listed in up above Title to Quite Title asto this

     Federal Fannie M ae Loan and to Quiet Title to Petitioners Property.And the
     am ountin controversy exceeds $75,000.00,with FARA Violations.So therefore

     FederalCourtshaveSubjectmattersJurisdiction overthisCasetobeRemoved to
     this FederalCourt.by U S Bank lying to the Police saying w e are notallow ed in the

     house and evicted us out of the house w ithout a Court Order, before it w as
                                                                         ,




     foreclosed on and w hile w e w ere in Bankruptcy becx se we are BLA CK, and

     Foreclosing w ithoutand lnterestin the N ote with Fake docum ents doing Fraud on

     us theBank and FederalGovernment(SEC).


                   IN TRO DU CTIO N JUR ISD IC TIO N A ND V ENU E



     'rhetransactionsande'
                         ventswhichthesubjectmatterofthisComplainta11occurred
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    F ithin the County ofD AD E,State of Florida.ln the United States.The property is

    located within the U nited States ofA m erica County of Dade,State ofFlorida w ith

    the address 15020 South R iver D rive M iam iFlorida 33167 Plaintiff lives in the

    State of Florida and the Defendantsc espondents aêe citizens of M innesota
                         %

    M inneapolis, 800 N icollet M all 55402 - and Florida. So therefore we have a

    diversity ofJurisdictionsw hich is Federal.Petitioners seek to bring Federalcharges

    ofDiscrimination,Bankruptcy Violations,judgesand publicofficialsConflictof
    lnterestas to Judges being paid off by the Bank that's againstus we have new ly
                                      '
     .

    found evidence of Fraud in the Case w ith otherFederalcharges listed in up above

     Titleto QuiteTitleasto thisFederalFannieM aeLoan andto QuietTitle to
    Petitioners Property. And the amount in controversy exceeds $75,000.00. So

     therefore FederalCourts have Subjectmatters Jurisdiction over this Case to be
     Rem oved to this Fedv alCourt.



                                JUR Y TR IA L DEM A ND

                             PLAINTIFFRequestsajury trialonal1issues.


                                      BA CK GR O U ND FA C TS



     OverallU S BA NK ,al1putin docum entsw ith incorrectVerificationssuch asthe

     A ssignm entsthatdon'thave w itnesses,no N otary Stam p,no Com m ission num ber,
                                                            *

     no Printed nam esundtrthe Signature,thew rong Bank on D ocum ents,no N otary,
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                                                               *

     no Seal,no PreparerA d they filed the Com plaintsbefore the Foreclosure

     Com plaintdate w as fled in Violation ofM clean V.JP M organ which saysyou

     can'tfile a Com plaintbefore you own the M ortgage and N ote which can'tbe fixed

     in ab initio (meansyou can'tstartoverfrom thebeginning and isvoid)andthey
     have M ortgagesthatdon'thave thesam e thingsno stam p,no seal, no Com m ission
                                       '
     p



     num berand A llonge signed by aperson w ith the w rong qualifications like an

     A ssistantSecretary thisisillegalaccording to Fl.Stat.692.01which says only a

     President,V ice President,orExecutive O fficercan sign an A llonge and Fl.

     Stat.692.101(3)(4)saysthataSecretarycan'tsign anAl*longeorAssignmenta11of
     these lllegalFilings are fraudulent,and foreclosing on theN o w ithoutthe

     Ownership ofN ote on record ata11such which U S Bank did in V iolation off1.

         Statutes.W hile th Clerkshelp hide the docum ents by D estroying D ocketsand

     allow ing unsigned fraudulentand blacked outSignaturesonto docum entsonto the

     Record.A nd afterthese M otionsforRecusalfrom these M oney Conflicted of

     InterestJudges ofthoqe w ho have Recused them selvesw hich Voidsand Reverts

     back to theOriginalOrderofDismissalwith PrejudiceF1.Rule2.160 (H)(1)(J)
     and the Judgeswho didn'tansw erthe M otion to Recuse by 30 daysareconsidered

     Recused and a1ltheirM otionsVoid and Revertedback to/heOriginalaccording to
                            %
     Fl.Rule2.160(H)(1)(J)buttheseConstructiveConspiringJudgesAllofthese
     actionsm akesthis fraudulentCase void giving the fraudulentBanks no standing.

     Butwith the help ofthe Constructive Conspiring paid offApellate Judges,Circuit

     CourtJudges,Bankruptcy Judges,Clerksofthe Courts,Police,W ithoutgoing to
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     Courtgetan O rder,w ithouta Break O rderora W arrantand w ith Contlictof

     lnterestCom m issionersand Code Enforcem entO fficers Evicted usand took our

     house illegally these D efendantsa11 sidew ith the Banksbecause they'repaid offby

     the Banks so thatno m atterhow crooked orIllegalthey are found to be they hold

     them selvesnotguilty,Zech.11:5.A nd JusttakeyourProperty because the banks

     arepaying them offwhich is very horrible ConflictsofInterest.Like the 131
                              %
     FederalJudgeswhojustgotfoundwithConflictoflnterestwhicheffected685
         CasesandwerepunishedthesejudgesarebeingPunishedtimeandthemostmoney
         they m ade is one hundred thousand dollarsand yetthese CircuitJudgeslikeJudge

         Schlesingerm ade twenty eightM illion dollars from US Bank tw o years in a row

         ànd Judge V alerie M anno Schurrm ade Eleven M illion dollarsw hile ruling in favor

         o.fU S Bank Judge'sA llen Fine,M onica Gordo,John Schlesinger,V ivianneD e1Rio

         and Sam antha Cohen and D e La O didn'tansw erourM otion to Recuse them selves

         w ithin 30 daysafteritw as filed m aking theirOrdersV oid and allthe otherJudges

         OrdersaftertheirsVoi
                            %
                              dFl.Rule2.160(H)(J).And Judgd VeronicaDiazhad a
         veryhorrible m oney Conflict,oflnterestand sherefused to Recuseherselfin

         Violation ofF1.CodeofJudicialConduct,Canon 3E(1)and F1.Stat.112,312 (8)
         Lawyershave been taking turnsstealing peoplesproperties which is Constructive
     '

         Conspiracy and are creating fraudulentdocum entsthese Banksthereofbased on one
                                          *
         ,

         orm ore ofthegroundsm entioned in subsection orifa defaultisentered against

         dtfendants(inwhichcasenoevidenceneedbetaken),thecourtshallenter



                                                                 *
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         judgmentremovingtheallegedcloudfrom thetitletothelandandforeverquieting
         the title in Plaintiffsand those claim ing underhim orhersince the com m encem ent
                                                                 *
         oftheseactionsandapjudgingplaintifftohaveagoodfeesimpletitleto saidland
         orthe interestthereby cleared ofcloud




                               FA CTU A L ALLEGA TION S




         on oraboutJUNE 30,2005 concerning USBarlk National,(hereinafterreferredto
         as ûflosingDates'') Plaintiff entered a credit transaction with by obtaining a
         $448,000.00 M ortgage loan secured by Plaintiffs principal residence,(Subject
*                                                                *

         Property).ThisNote$assecuredby aFirstTrustDeedontheProperty in favorof
         A xiom Financial SERVICES.ln w hich we w ere m aking the a11the paym ents on

         tim e then one day while checking on another house in a dow ntow n Courthouse

         inadvertently w e find outthatourhom e at15020 S.RiverD r.isin Foreclosure even

         though w e w ere m aking the paym ents so on June 6th2007 w e did a w ritten request

         form alprotest and dijpute of that debtM ysterious threat from an unknow n Bank

         thatw as Foreclosing on our Property in whom w e did not sign our M ortgage or

         N ote w ith w e w ere never served and w as trying to geta hearing w ith no response

         untilwesuddenly findoutthatthey weregettingready tg sellourpropertywithout
                              %
         even allow ing us to respond or defend ourselves therefore 9/12/2007 w e did an

         Em ergency M otion to cancelthe sale so thatthe Judge can see thatw ew erem aking
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     thepaymentsand forthatBank (US BANK NA)who isunknownto usweren'table
     to show us that they owned the N ote and w e pointed outto the Judge in front of

     about50 w itnessesTea Partiers and R epublicansthatU S BAN K N A neverbrought

     in the N ote,M ortgage,and A ssfgnm entand no letter of indebtm ent and no proof

     that w e w ere not m aking the paym ents and w e pointed out to the Judge thatthey

     only have a Lis Pendens on record w ith no Com plaintto be seen and no M ortgage

     orNoteAttached to aComplaintasRequired by F1.Stat.702.015,(4)andFl.Rule
     Civ.P.130 a.w hen Judge ZA BEL realized thatthere w asno M ortgage and no N ote
                          %
     put in and that she did a Final Judgem ent w ith no ORIGINA L N O TE or

     M ORTGAGE DOCS atallwhich isaPerjury Felony and in Violation ofFlorida
     Stat.702.015 (4)(5)(C). So the JUDGE PAN ICK ED and Ordered U S Bank's
     A ttorneys to bring in the OriginalN otes and M ortgage and Zabel Cancelled the

     Voreclosure Sale SCHEDULED FOR 9/12/2007 untilthey broughtin the Original

     Note and M ortgage.HutaftertheJUDGE (ZABEL)Cancelled theForeclosure sale
     set for 9/12/2007 som ehow those tricky Lawyers gotthe Clerk to do the SALE

     anyw ay againstJudge ZA BEL'SOrderso w ehad to rush back to the Courtto getan

     Emergency Hearingtp tellJudgeZABEL thattheLAW YERS andtheClerk did a
     SA LE anyway against her Order and the Judge w as very upset and Ordered the

     A ttorneysForU S BA N K NA to do a M otion to Cancelthe Sale and then the Judge

     signed an orderto Cancelthe Sale from their M otion to Cancelthe Sale.A nd then

     Judge ZABEL O rdered and D em anded that they bring in the OriginalN ote and

     M ortgagebecause now Judge ZA BEL W as now in position to getin trouble for
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     doing a FinalJudgem ent w ithout Certified Copies of the N ote and M ortgage and

     W ithoutthe O riginalN ote and M ortgage thatis required by Florida Statute,Florida

     Stat.702.015(4),in otherwordstheseClownswerejustlllegallygoingtotakeour
     Property butgotCaught!131 FederalJudgeshave already been caughtand w entto
                                                           '   *

     jailfor Conflictoflhterest,they failed to Recuse themselvesfrom 685 lawsuits
     from 2010 to 2018 involving firm s in w hich them selves or relatives held shares,

     these EvilJudgesare going down!ThisJudge ZABEL Ordered the A tty'sto go get

     the D ocs that they said they had, then Judge ZA BEL took a Court Recess and

     during the break from the Courtrpom U S Bank Lawyers Refused to go back into the

     Courtroom this upsetthe Judge but Judge ZA BEL gave them tim e to bring in the

     N ote and the M ortgage but they w ould not so therefore w e put in a M otion to

     Dismiss with Prejudice we wentback and Forth with the Judges and the Banks
     A ttorneysbutthey would notfollow the Judge Sarah 1.Zabel'sOrderto bring in the
                                                               *


     NoteandOrderandthereforeJudgeZABEL DismissedtheCasewithPrejudice,the
     tenth line ofthe 2007 Case Called Case N um ber2007-12407-CA 01 ofthe Docket.

     And then JudgeZABEL said thatitw ould show on the D ocketin a few dayswhich

     w as04/07/2007 ofthatsam e D ocket!!Judge ValerieM anno Schurr'sSIGNA TU RE

     and N A M E show s up on the DISM ISSA L W ITH PREJU DICE from Judge ZA BEL

     THE YEAR AFTDR SHE BECOM ES JUDGE W GHT BEFORE SHE

     m ysteriously takes over ourCase to save U .S.BAN K FROM U S and save JU D GE

     ZABEL,THEIR LAW YERSFROM THE W RATH OF THEIR BOSSGM AC (US

                                                               *
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     BANK)W 110 HAD ALREADY PAID THEM TO SAVE
                                            *
                                              U.S.BANK FROM US
                       %
     UDGE VALERIE M ANNO SCHURR iswhowe'rejustnow findingoutthatTHE
     BAN K S PA ID HER TO TRICK U S IN TO BELIEVIN G THA T W E W ERE SA FE

     FROM U S BAN K W ITH TH E D ISM ISSA L W ITH PREJUD ICE AN D THEN

     TH REE M ON TH S LA TER JU DG E V ALERIE M AN N O SCHU RR CHAN G ES IT

         D ISM ISSAL    W ITH OU T PREJUD ICE IN A N ILLEG AL EX PA RTE

     HEA RIN G W ITHO UT U S KN O W IN G SO THA T U S BA N K COU LD CO M E

     BA CK AN D STA RT THE SA M E CA SE O VER W ITHOU T N O TICE TO U S!

     W HY DID GM AC (US BANK)PAPY JUDGE VALERIE MANNO SCHURR TO
     TAKE OVER OUR CASE W AS BECAUSE JUDGE ZABEL DISM ISSED W ITH
     PREJUD ICE U S BAN K S CA SE 04/07/2009 A S SEEN ON TH E DO CK ET CA SE

     N U M BER 2007-12407-CA 01 LIN E 10,Exh.l pg.2.AN D FO RD M OTO R CO .V .

     CA LLO W A Y SA Y S A JU DG E CAN 'T CHAN G E AN OTH ER JU DG E'S ORDER

     SO , JU D GE VALERIE M AN N O      SCHU RR FILED      HER D UPLICA TE

     DlsM lssAl-w ITH I-IKE JIJDGE ZABEL'S ORDER w As FILED 04/07/2009,

     YND JUDGE SCHURR'S DUPLICATE ORDER FILED 04/07/2010 AS SEEN
     ON TH E D O CK ET CA SE N UM BER 2007-12407-CA 01 LIN E 10 AN D 11, N O T

     REM EM BER JU D GE V A LERIE SCH URR IS A JU DGE W E N EVER M ET

     N EVER SEEN AN D N EV ER D1D           H EA Y N G * IN FRON T OF AN D
                       1

     A CCORDIN G TO TH E A DM IN STRA TIVE JU D GE, JUD GE BA ILEY SA ID

     TH A T SHE DlD N O T A SSIGN JUDG E VA LER IE SCH URR TH IS IS A JUD GE
Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 16 of 99

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     THA T SHE D ID N O T A SSIGN TO OU R CA SE ALL D ON E SO THA T SH E

     COU LD IN AN ILLEGA L EX PA RTE H EARIN G IN V IO LATION OF FLO RIDA

     STA T.702.07 W ITH TH E PLA IN TIFF U S BAN K CHA N GE HER 0 %           O RDER

     TO DISM ISSAL W ITHOUT PREJUDICE, TO HELP GM AC (US BANK).
     STEAL SO THEY CAN ALL M AK E M ON EY O FF OF HELPLESS BLACK S

     U SIN G BlG BA D JU D GES AN D LA W YER S!The proofthatJU DG E VA LERIE
                                                            *
     M AN N O SCHU RR m ade M oney to help them is on her Form 6 FU LL A N D

     PUBLIC DISCLO SU RE OF FINA N CIA L INTEREST SW ORN A FFIDA V IT

     OATH of2008 thatshows on partC.Liabilities section thatshe has $995,000.00

     and $91,498.00 from GM AC which is the Servicer and owner RESIDENTIAL
     FUN D IN G CO RPOR ATION in their notice of transfer said they w ere controlling

     ourpaym ents as Servicer from atleast 1/1/2007 on the m ortgage Paym entCoupon

     akthe bottom ofthe TransferLetter, Exh 2.and $129,000.00 from W ellsFargo
     which is U S BAN K NA TION AL A SSO CIA TION A S TRU STEE FO R RA SC

     2005 AHL3,then in 2009 form 6 itshows GM AC M ORTGAGE of$410,000.00
                                                            *

     and creditline with &M AC,and $128,000 W achovia which isW ells Fargo which
     is U S BA N K , and then she allow s an Illegal Ex Parte Hearing w ith U S Bank

     N ationalA ttorneys to change her Order which is really Judge Zabel's Order from

     DISM ISSED W ITH PREJU DICE in A pril6th, 2010 to change the D ism issed w ith

     Prejudice 3 months later in pune 27th, 2010, into DISM ISSED W ITHOUT
     PREJU DICE in thisEx Parte H earing.W hich is only supposed to be done w ith only

     theD efendantsthatare aboutto lose theirhom e to the Foreclosure Sale and this




                         k
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     niustbedone before the sale oftheHouse according to Fl.Statue 107.07,(during
     the interim GM AC also had aFlorida DefaultLetterasthe Servicer)and afterthat
     wonderful gift Judgem ent to U S Bank N ational A ssociation and helping Judge
                                                            *

     Zabeloutofthe m es: for doing a Judgem entw ithouta D ocketed Com plaint,N ote,

     A llonge, M ortgage or an A ssignm ent from the Records w hich w as literally

     Crim inal,Thievery ofour house.Then suddenly in her 2010 Form 6 D isclosure of

     Financiallnterest,Exh.(3),itshowsa $400,000.00 giftfrom GM AC and shows
     $1,000,000.00 from W ellsFargo w hich isU S Bank.A llofthis ispay to Play RICO
                                     .




     Conspiracy to steal Black People's Houses which they're also doing to W hite

     European Gentiles!U S BAN K 'S only law fulRem edy w as to Appealthe D ism issal

     withPrejudicewithin 30daysaccordingtoFloridaAppellateRule4 (a)(1)(A).But
     now acasethatwasDismissedwithPrejudicewasgivenl
                                                   *
                                                    ifeagainbyJudgeValerie
     M anno Schurr a Judge
                         % w e had never m etneverseen or everhad a hearing in front

     ofcame in and Dismissed the Case with Prejudice exactly one year afterJudge
     ZabelDismissed itwith Prejudicetoavoid Calloway Vs.Ford which saysanother
     Judge cannotchange another Judges Order from the sam e CircuitCourtthey m ust

     A ppealto a higher Courtbut Judge V ALERIE M AN N O SCHU RR did itanyw ay

     by having a hearing three m onths later in an illegalEx Parte hearing and changing
                          .




     the Dismissalwith Prejudice to DismissalwithoutPrejudice which allowed US
     BAN K to secretly file another Foreclosure Case against the House at 15020 S.

     River Dr.M iam iFlorida 33167 and U S Bank did file Qnother Case which w as a

     continuance ofthe sam e Case from 2007 w hich iscalled CaseN um ber2007-12407-
Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 18 of 99

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                         %
     CAOI that was Dismissed with Prejudice and secretly changed to Dismissed
     withoutPrejudice and withoutany noticetousin 2010 called Casenumber2010-
     61928-CA 01 this 2010 w as also done w ithoutthe OriginalM ortgage,A ssignm ent

     and D ocs.O riginalof the N ote,A llonge to the N ote,and the second A llonge from

     Fannie M ae or indem nification info thatindem nifiesFannie M ae and there m ustbe

     the Loan num ber,D ate and the printed nam e of the Signer as required by Federal

     Fannie M ae Rules 88-3-04 for Fannie M ae ofwhich none ofthis is on the copy of

     the A llonge recorded on the D ocket, And JUD GE VA LERIE M A NN O SCHU RR

     has taken m y new Case again to finish what she startei by Ruling in favor of U S
                          1
     BAN K and G M AC w ith w orstContlicts ofInterestthatshe'strying to hide so that

     she can Rule in the Bank's favor to illegally Foreclose.Because in her FO RM 6 -

     2019 and 2020 FinancialDisclosureAffidavitshe hasover$11,192,000.00,pluson

     line 5 she statesthatshehasa $400,000.00 M ortgagewith City NationalBank that

     isRoyalBank ofCanada,whicù isW ellsFargo,And W ells Fargo is US Bank
     JU
      .
        D GE VA LERIE M A N N O SCH URR is helping to illegally Foreclose on us.The

     otherconflictis Schurr's $400,000.00 M ortgage HolderCity NationalBank thatis

     Royal Bank of Canada w hich is M organ Stanly/lp M organ, w hich is U S

     BA N CO RP/U S BAN K .A nd A llthis is CITY NA TIOX A L BAN K ,who M erged
                          $

     w ith W achovia Bank w ho adm itted they w ere SLA V E M ASTERS OF BLA CK

     PEOPLE,to justtake CRIPLE HELPLESS BLACK PEOPLE'S HO M ES.1 w ill
     investigate how this Judge accumulated $11 m illion dollars on a JUDGE'S

     SA LA RY ,ldem and to see w here allthatm oney isfrom .Thisisthe Bank that
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     served m y 1aw suitby an officialServicer acknow ledged by U S BA N K w hich by

     florida Statuethey had only 20 daysto answerbutthey neveranswered forsix
                     ,    *
     m onths while w e re trying to Defaultthem the w hole tim e,yetJU D GE VA LERIE

     M AN NO SCH URR w ith her m illions of dollars Conflicts of Interest helped U S

     Bank by not ever Defaulting them no m atter w hat the law s and rules say 1 really

     don'tstand achancejn thisfightbecausethereferee (JLDGE SCHURR)isbeing
     paid by my Opponentsto Ruleonly intheir(US BANK'S-GOLIATH'S favorlAM
     DESTROY ED and CRU CIFIED by these w icked Anim alsw ho break a1lthe Law s

     and killBLA CK PEOPLE and hold them selves notGU ILTY by these CRO OK ED

     EV IL JUD GES like JUD GE VA LERIE M AN N O SCH U RR and l know they are

     Plotting to K ILL m e rightnow ,K .J.V .BIBLE=ZECHA RIA H 11:5!!




     1ST c A tlsE        O F A C TIO N            C IV IL    V IO LA TIO N        OF

     CONSTRUTIVE Fltxco coxsplu ck IN V IO LA TIO N
     O F FE D ER A L 923. 18 U .S.C . SS 371 A N D . 18 U .S.C . SS

     1341 AN D 18 U.S.C.1964,18 U.S.C.1961(B)SECTION 201,AS

                                     TO BR IBIN G JU D G E S.



     H ERE'S HO W THESE JU D GES PLAY ED TA G TEA M AN D AX IO M A TIC

     CON STU CIV E FR AUD TO CON SPIRE W ITH EA CH O THER TO TA KE OU R
    Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 20 of 99

    19
         H OM ES BECAU SE U S BAN K BW BED THEM TO RU LE A GA W ST A LL

         FLORID A STA TU ES-RULES AN D FOR CRAZY OBV IOU S CO N FLICTS OF

         INTEREST because îomething strange happened outofnowhere!Judge Valerie
         M anno Schurr's SIGN A TURE and N AM E show s up on the DISM ISSAL W ITH

         PREJU D ICE from Judge ZA BEL TH E Y EA R A FTER SHE BECOM ES JU D GE

         RIGHT BEFO RE SHE m ysteriously takes over our Case to save U .S. BA NK

         JRROM US and save JUDGE ZABEL,THEIR LAW YERS FROM THE W RATH
         OF THEIR BOSS GMAC (US BANK)W HO HAD ALREADY PAID THEM TO
         SAV E U .S. BAN K FRO M U S JUD GE VA LERIE M AN N O SCH URR is w ho

         we'rejustnow inding outthatTHE BANKS PAID HER TO TRICK US INTO
         BELIEVING THAT W E W ERE SAFE (1 will inve
                                                  *
                                                    stizate how this .Tl/#2d
         accum ulated $11 million dollarson aJUD GE 'S SALAR L IdemanV /4?see wherq

         allthatmonev is from).This is the Bank thatserved my 1aw suitby an official
         servicer acknow ledged by u s BAN K which by Florida Statue they had only 20

         days to answerbutthey neveranswered forsix m onthswhile w e're trying to D efault

         them the whole tim e,yetJUD GE VA LERIE h4AN N O SCH URR w ith her m illions

         of dollars Conflicts cïf Interest helped U S Bank by not ever D efaulting them no

         m atterw hatthe law s and rulessay 1really don'tstand a chance in this fightbecause

         thereferee(JUDGE SCHURR)isbeingpaidby myOpponentstoRuleonly intheir

*        (US BANK'S-GOLIATH'S favorIAM DESTROYED gnd CRUCIFIED by these
                              %
         w icked A nim als w ho break al1 the Law s and kill BLA CK PEOPLE and hold

         them selvesnotG U ILTY by these CRO O KED EV IL JU D GES like JUD GE
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     V ALERIE M AN N O SCHU RR and 1know they are Plotting to KILL m e rightnow ,

     K .J.V .BIBLE=ZECHA RIA H 11:5!!H ad six Judges on this Case Judge VA LERIE

     M ANNO SCHURR who dismissed the Case without Prejudice Illegally.Then
     Judge SCH LESIN G ER who gav'e them the right to foreclose even though they

     didn'thave the standing butthen told usthatwe can com eback in 10 daysto prove

     it.Then in 10 days w e cam e back in tim e to give the answ er to the Judge giving

     them the rightto Foreclose butJudge SCH LESIN GER w as no longerthe Judge on

     ourCase,itw as now Judge D e La O who also had the sam e ConflictofInterestand

     then Judge D e La O said he couldn't change the Judge's Ordereven though he saw

     thatw e had ten days to respond and then he gave us a rehearing and then w e cam e

     back to ask in frontofJudge D E LA O buthe w asno longerthe Judge itw as now

     Judge Veronica D iaz and she said thatshe could notchangeJudge De La o's Order.

     And she gave a date for the foreclosure Sale and she had the sam e Conflict of

     lnterest then w e had the Pandem ic which stopped evelything now all of these

     Judges had the sam e Contlictof lnterestand they w ere running away from m e by

     passing the Case to another Judge so that w e could never catch up w ith Judge

     SCHLESINGER'Slq day RulingandhisFraudulentCalewherehegavethem the
     rightto Foreclose butusthe rightto respond an w enevergotto respond becausethe

     Judges kept passing the Case from one Judge to the next and w ould've been

     Foreclosed on butthe Pandemic stepped a1lForeclosures and then l tiled a Quiet
     Title which w asten years afterVA LERIE M AN N O SCHU RR had filed a
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                                     '
     .


     FraudulentDismissalwithoutPrejudiceto givethoseJudgestherighttokeep them
     N ssing the Case to each otheruntilthey w ere getting ready to Foreclose on us and

     then I show ed here that she didn't have the rightto do thatbecause she received

     $995,000.00 to change the Judge's Order and then she Recused herself after l
                                                            *
     showed herthatshe Recused herselfofmy 2021 Case.ln the meantim e the Fake
     2010 Case w as still going on and in the 2010 Case after the Pandem ic w as over

     anotherJudge nam ed Sam antha Cohen w asasked to Recuse herselfbecause she had

     the sam e Contlicts oflnterestbutshe ruled in Favorofthe Bank then w hen w e were

     going back to Court to tell her to D ism iss the w hole Case because VA LERIE
                                     e
     .



     M A N NO SCHU RR Recused herself and w e w anted to stop the Foreclosure sale

     th'en they changed it to another Judge V ivianne Del Rio who had the exact sam e

     Contlict of Interest and w ould not listen to us in Courtand she gave them a

     Foreclosure Sale even though in Courtw ith Judge Rodriguez whose studying the
                                                            *

     Case to see that VA AERIE M A NN O SCH U RR w asn't even supposed to be our

     Judge and got$995,000.000 to change the Dismissalwith Prejudiceto Dismissal
     withoutPrejudicesotheirtrying to Forecloseand sellthehouseand Evictusbefore
     w e can show w hy Judge V A LERIE M ANN O SCHU RR Recused herself.A l1six of

     these Judges allhave the sam e Cpntlicts ofInterestand being paid by the Banksto

     play on their team ! Check out these JUD GES W H O W ROTE AN OATH

     A FFIDA VIT TO TH E STA TE CA PITA L A N D A CTUA LLY SHO W THA T

     TH ESE BAN K S PA Y THEM W O W !!!ln a hearing w ith Judge R odriguez U .S.

     Bank attempted to Dism issmy QuietTitle Caseby saying
                                                         *
                                                           we've been taking along
                         %
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     ime and trying to slow down the Case butifyou check*the 2007 Docket Exh.(4)
     Y ou'llsee that itw as U .S.Bank thatrefused to bring in a Ordered D ocum ent by

     Judge Zabelto show that they own the N ote,the M ortgage,the A llonge and the

     A ssignm entand U .S.Bank neverw ould bring itin after a yearofw aiting w e asked

     foraDismissalwithPrejudicein2008andin2009theJudgefinallysignsa
     Dismissalwith PrejudicebecausèU.S.Bank refused to follow herOrderand then
     U .S.Bank w aited a year and in 2010 Judge VA LERIE M AI
                                                            N NO SCH URR inserts

     herself in the Case w ithoutbeing appointed or everm eeting the D efendants and se

     did a Dismissalwith Prejudice also and then 3months laterinstead ofappealing
     that w hich they had 30 days to do they had an Ex Parte Hearing w ith Judge

     V A LERIE M AN NO SCH URR illegally and she changed her Order which intem

     changed JudgeZabel'sOrderillegally from Dismissalwith Prejudiceto Dismissal
     withoutPrejudice and then 6 months later U.S.Bank found another Case for
     Foreclosure and U .S.Bank kept not follow ing the Judges Order or Notifying us

     imtilfinally the Judge Dismisseè the Case again forlack ofProsecution because
     U .S.B ank w ould notilotify us and threatened to close outthe Case then U .S.Bank
     finally noticed us and then they seta H earing for 2017 N ovem ber,29th in frontof

     Judge SCHLESIN G ER all that tim e w as taken because of them and then Judge

     SCHLESINGER gav/ them 10 days to answerthey dld not ansyver so l did a
     M otion forD efault and then U .S.Bank answ ered by saying thatU .S.Bank needed

     m ore tim e the Judge gave them m ore tim e w ithoutnoticing us w e didn'tknow that

     they did thatand w e asked forCase to be D ism issed so the Pandem ic hitand then
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     when the Pandem ic hititsw hatdelayed the Foreclosure and during the interim ldid

     a QuietTitle SuitthatQuite Titlç Suitisnow in Court.So itwasn'tTorturously a
     long tim e because allofus allofthe tim e w asted was by Blank Rom e Attorneys for

     U .S.Bank so w e didn't w aste the tim e U .S.Bank did so 1 need the tim e for the

     Judge to rule on the factthattheirA llonge isno good,thatU .S.Bank'sA ssignm ent

     is no good thatU .S.Bank does nothave theN ote in itsrecord ofN otes according to
                                                             *
                          1
     the Edgarsearch and thataccording to the Trustee ofthe Cupisone Cusip num bers

     the M ortgage has only been sold to Fidelity Strategic RealReturn Funds not U .S.

     Bank and they have untilthis day 2021 which I w as referred to them by the lady

     thatrunsthe SEC at801 BrickellAve.downtow n M iam iso this isthe pointw ere at

     rightnow they don'tow n theN ot.eneverhave so w e need to stop the

     Sale forthem to comç prove they own theNote instead ofjustgiving ourhouse
     away that w e w ere m aking al1 the paym ents on at the tim e. They a1l m ust be

     Arrested for Crim inal Conspiracy to steal Black People's H om es and W hite

     Gentile'sHomes!ChristisJewsand Gentiles 1Cor.12:)2-14 they Arecrucifying
                          %
     and 1.Plaintiff,is now ,and at al1tim es m entioned in this Co-ow ner of and in the

     Possession of a1l the real property described in paragraph 5 above, said real

     property to be hereinafter referred to as the Property described in Paragraph 5

     above,said realproperty to be hereinafter referred to as the Property .This is a

     quiettitle etc.case w hich requirés thatU S Bank show a fullchain oftitle which is

     extrinsic evidence according to 2005 Florida code civilpractice and procedure.




                                                             *
                          1
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         2ND C A IJSE O F A C TIO N JU D G ES A N D O FFIC IA L 'S

         C O N F L IC T S   OF     IN T E R E ST    IN    V IO L A T IO N    OF
                                                          *
                            %
         FED ER A L R U LE O F C IV IL PR O C R U LE 60, FL O R ID A

         RULE 2.160 (A)(D)(H)(1)(4),FL.CODE JUD.CONDUCT

         CANON 3E (1)FL.STAT.112.312 (8).IN VIOLATION OF
         FED ER AL C O N STR U C TIV E FR AU D C O D E

                                18 U.S.CODE SS 1961 (A)

         PursuanttoFloridaStat.112.131,FloridaRule2.160(H)and
*
         FederalRules ofCivilProcedure Rule 60,
                            %
         FloridaRule2.160 ffflSqys,4 Judgem qv Vacateordersfor
         Cbq/Nc/qfInterestTheodore R .B undv M Judqe John W .R udd
         F /.R ule 2.160 /D )(1qFl.Code Jud.Conduct.Canon 3E /;)W
         Judgeshalldisquallfvhimselfwhereimpartialilvmight
         reasonablv be questioned R ule 2.160 /D )(1)grounds to
         disqualifvispar@ fearsJudgeisBiasedFl.Statue112.312 /#)
         Judge can'thave a c/q/l/c/qfInterest1



         ALLOFTHESEJUNGESAND OFFICIALSCONSPIG ED TOGETHERFROM
         TOP TO BO TTO M TO STEA L OU R H OM E A LON G W ITH O THER tJ.S.BAN K
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                            1
25
       CA SE AN D EA CH ON E OF TH EM H AV E A H ORRIFIC M ON EY CON FLICTS

       O F IN TEREST! CH ECK OU T THE JUD GES BELOW AN D TH E AM OU N TS

       O F M ON EY TH EY M A DE FROM U S BA N K



     1.SARAH 1.ZA BEL 4/7/09------------------------------m ade 9 M illion from U S BAN K

     2.VA LERIE M AN N O SCH UR R 1/21/22----m ade alm ost 12 M illion from US BAN K

     3.JOHN SCHLESIN GER 12/19/2017--------m ade alm ost29 M illion from U S BA N K

     4. SA M AN THA RUIZ COH EN 5/12/2021------m ade over2 M illion from U S BAN K
                            1

     5.M IGU EL D E LA O 1/9/2019------------------m ade alm ost lM illion from U S BAN K

     6.VERON ICA DIAZ 6/2/2020------------------m ade alm ost% M illion from U S BA NK

     7.VIVIA N NE D EL 1tlO 5/4/2022---------------m ade alm ost2 M illion from U S BAN K

     8. JUD GE CA RLO S LO PEZ-----------G O T 2,077,949.00 CA SH From U .S.BA N K
       '
       theseJudgeshave madeM illionsofdollarswith U.S.Bank taking Black People

       and W hite European's hom es illegally for gifts of M oney Exo.

       23:8,D eut.16:19.W hich says Judges can'ttake gifts because it

       blindsthe eyesofJudgem ent!!H ere are these Judgesexam ples.
                            %




 1. FIR ST W E H AV E JUD G E VA LER IE M ANN O SC H U RR W HO STA RTED

      THIS H ORRIBLE DISCRIM INA TIN G CON SPIRA CY M ESS BECA U SE IN HER

      FULL A ND PUBLIC D ISCLO SU RE OF FINA N CIA L IN TEREST A ND SHE

      RkcusEo HERSELF 01/21/22BEcAuss sHE GoT CAUGHT GETTING
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     M ILLIONS TO ILLEGALLY TAKE OUR PROPERTY W ITH $CONFLICT OF

     IN TEREST UP TO $11M ILLION



      BE CA USE IN H E R F O# % 6 FIN A N CIAL IN TER EST
                                                          *
                         %
                     S W OR N A F FIDA VIT OA TH



      N ow som ething strange happened out ofnowhere!Judge V alerie M anno Schurr's

      SIGNATURE andNAM E showjup on theDISM ISSAL W ITH PREJUDICE from

      Judge ZABEL THE YEA R A FTER SHE BECO M ES JU DG E RIG HT BEFORE

      SHE m ysteriously takes over our Case to save U .S.BAN K FROM U S and save

      JUD GE ZA BEL, THEIR LA W YERS FROM THE W RATH OF THEIR BO SS

      GMAC (US BANK)W HO HAD ALREADY PAID THEM TO SAVE U.S.BANK
                                                          *

      FROM us JIJDGE AAI-ERIE M Axxo scuultR iswhowe'rejustnow fuding
      outthatTHE BAN K S PAID H ER TO TRICK U S IN TO BELIEVIN G THA T W E

      W ERE SA FE FROM U S BAN K W ITH TH E D ISM ISSA L W ITH PREJU DICE

      AN D TH EN THREE M ON TH S LA TER JUD GE VA LERIE M AN N O SCHU RR

      CHANGES IT TO DISM ISSAL W ITHOUT PREJUDICE IN AN ILLEGAL
      EXPARTE HEARINC W ITHOUT USKNOW ING SO THAT USBANK COULD
      CO M E BA CK AN D STA RT THE SAM E CA SE OV ER W ITHO UT N OTICE TO

      US!W HY DID GM AC (USBANK)PAID JUDGE VALERIE MANNO SCHURR
      TO TA KE OV ER OU R CA SE W A S BECA U SE JU DG E* ZA BEL D ISM ISSED
                         %
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     WITH PREJUDICE IJS BANKS On 04/07/2009 ASSYEN ON THE DOCKET
     CA SE N UM BER 2007-12407-CA01 LIN E 10,Exh.l pg.2.A nd Ford M otorCo.V .

     Calloway Says A Judge Can't Change Another Judge's Order So,Judge V alerie

     M anno SchurrFiled HerDuplicate DismissalW ith Prejudicelike Judge Zabel's
     Orderw as filed 04/07/2009,Exh.l1.A nd Judge Schurr's Duplicate O rderw asFiled

     04/07/2010 A s Seen on the D ocketCase N um ber2007-12407-Ca01 line 10 and 11,

     Exh.12.Pg.2.N ote Rem em berJudge V alerie Schurr isa Judge w e neverm etnever

     seen and never did a hearing in frontofand according to the A dm inistrative Judge,

     Judge Bailey said thatshe did notA ssign Judge Valerie Schurrthis is a Judge that
     she did not A ssign t* our Case a1l Done so that she coul
                                                           * d do an lllegalExpal'
                                                                                 te

     Hearingin in V iolation of F1.Stat.702.07 w ith the Plaintiffs U .S.Bank to change

     herown Diorderto DismissalW ithoutPrejudice, Exh.13 To Help GM AC (Us
     Bank).StealSo They Can AllM akeM oney OffOfHelplessBlacksUsing Big Bad
     JUD GES AN D LA W YERS!The proofthatJU DG E VA LERIE M AN N O SCHU RR

     m ade M oney to help them is on her Form 6 FU LL AN D PUBLIC D ISCLO SU RE

     (SF FINAN CIAL INTEREST sw on AFFIDAVIT OATH of2008 thatshowson

     partC.Liabilities section thatshe has $995,000.00 and $91,498.00 from GM AC

     w hich is the Servicer and ow ner RESID EN TIA L FUN D IN G CORPO RATION in

     theirnotice oftransf' said they were controlling ourpaym entsasServicerfrom at

     least1/1/2007 on the M ortgage Paym entCoupon atthebottom ofthe Transfer

     Letter, E* .2 and $129,000.00 from W ellsFargo which isUS BANK NATIONAL
Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 29 of 99

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     ASSOCIATION AS TRUSTEE FOR RASC 2005 AHL3, Exh.(14) then in 2009
     form 6 itshow sGM AC M ORTGAGE of$410,000.00 and Creditlinewith GM AC,

     apd$128,000Exh.(14.1)W achoviawhich isW ellsFargo(15)which isUSBANK,
     Exh.(14).andthen sheallowsanlllegalEx ParteHearingwith US BankNational
     Alonneys to change her O rder w hich is really Judge Zabel's Order from

     D ISM ISSED W ITH PREJU DICE in April 6th, 2010 wExh.(11) to change the

     Dismissed with Prejudice 3 months later in June 27th,2010,into DISM ISSED
     W ITH OU T PREJUD ICE in thisEx Parte H earing Exh.13 W hich is only supposed

     to be done w ith only the D efendants that are about to lose their hom e to the

     Foreclosure Sale and thism ustbe done before the sale ofthe H ouse according to Fl.

     jtatue 107.07,(duringtheinterim GM AC also had aFloridaDefaultLetterasthe
     servicer)and aftertha'
                          twonderfulgiftJudgementto US Bank NationalAssociation
     and helping Judge Zabeloutofthe m essfordoing a Judgem entw ithouta Docketed

     Com plaint, N ote,A llonge,M ortgage or an A ssignm ent from the Records which

     wasliterallyCriminaj,Thievery ofourhouse.Then suddenly inher2010Form 6
     D isclosure of Financiallnterest,Exh.18,it shows a $400,000.00 giftfrom G M AC

     and shows $1,000,000.00 from W ells Fargo which is US Bank,Exh.(14).A1lof
     this is pay to Play RICO Conspiracy to stealBlack People's H ouses which they're

     also doing to W hite European G entiles!U S BAN K 'S only law fulRem edy w as to

     AppealtheDismissalwithPrejudicewithin 30 daysaccordingto FloridaAppellate
     Rule4 (a)(1)(A).Butnow acasethatwasDismissedwith Prejudicewasgivenlife
     again by Judge V alerie M anno Schurra Judge w ehad neverm etnever seen orever


                                                             *
Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 30 of 99

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     hadahearingin frontofcamein andDismissedtheCasewithPrejudiceexactlyone
     yearafter Judge ZabelDismissed itwith Prejudice to*avoid Calloway Vs.Ford
     Which says anotherludge cannotchange anotherJudgesOrder from the same
     Circuit Courtthey m ust Appealto a higher Courtbut Judge V ALERIE M AN N O

     SCHU RR did it anyw ay by having a hearing three m onths later in an illegal Ex

     Parte hearing and changing the Dismissalwith Prejudice to Dismissalwithout
     Prejudice which allowed US BANK to secretly file another Foreclosure Case
     againstthe H ouse at 1.
                           5020 S.RiverDr.M iam iFlorida 33167 and U S Bank did tile

     anotherCase w hich w as a continuance ofthe sam e Case from 2007 w hich is called

     CaseNumber2007-12407-CA01thatwasDismissed with Prejudice and secretly
     changedtoDismissedwithoutPrejudiceandwithoutanypnoticetousin2010called
     Case num ber 2010-61928-CA 01 this 2010 was also done w ithout the Original

     M ortgage,Assignm entand D ocs.Originalofthe N ote,A llonge to the N ote,and the

     second A llonge from Fannie M ae or indem nification info that indem nifies Farm ie

     M ae and there m ustbe the Loan num ber,D ate and the printed nam e ofthe Signeras

     required by FederalFannie M ae'Rules 88-3-04 for Fannie M ae ofw hich none of

     thisison the copy of1he Allonge recorded on theDocket,Exh (19).And JUDGE
     VA LERIE M AN N O SCHU RR has taken m y new Case again to finish what she

     started by Ruling in favorofU S BA N K and G M A C w ith w orstContlictsoflnterest

     that she's trying to hide so that she can Rule in thewBank's favor to illegally
                          %

     Foreclose.Because in herFO RM 6 -2019 and 2020 FinancialD isclosureA ffidavit
Case 1:23-cv-22640-JEM Document
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     she has over $11,192,000.00,Exh.(20)plus on line 5 she states thatshe has a
     $400,000.00 M ortgage with City NationalBank that is Royal Bank of Canada

     Exh.(20.l),which isW ellsFargo,Exh.(21).AndW ellsFargoisUS BankExh.(14)
                                     '
     .


     JUD GE VA LERIE M A N NO SCH URR is helping to illegally Foreclose on us,Exh.

     (22).The other conflictis Schurr's $400,000.00 M ortgage Holder City National
     BankthatisRoyalBank ofCanadawhich isM organ Stanly/lp M organ,Exh.(23),
     which isUS BANCORP/US BANK,Exh.(24).and Exh.(25) A11thisis CITY
     N A TION A L BA NK 1x11.26,w ho M erged w ith W achovla Bank w ho adm itted they

     were SLAVE M ASTERS OF BLACK PEOPLE,Exh.(27)tojusttake CRIPLE
     HELPLESS BLA CK PEOPLE'S HO M ES. l w ill investigate how this Judge

     accumulated $11 million dollarson a JUDGE'S SALARY,ldem and to seewhere

     a1l that m oney is from .This is the Bank that served m y law suit by an official
                                     *
     .



     Servicer acknow ledged by U S BAN K w hich by Florida Statue they had only 20

     days to answ er but they never answ ered for six m onths w hile we're trying to

     D efaultthem the w hole tim e,yetJU DGE VA LERIE M AN N O SCH U RR w ith her

     m illions of dollars Conflicts of lnterest helped U S Bank by not ever D efaulting
                                                            *

     them no matterwhatAzelawsandrulessay Ireally don'tstand achancein thisfight

     because the referee (JUDGE SCHURR) is being paid by my Opponents to Rule
     only in their (US BA N K 'S-G OLIATH 'S favor l A M D ESTRO YED and
     CRUCIFIED by these w icked Anim als w ho break al1the Law s and killBLA CK

     PEO PLE and hold them selvesnotG UILTY by these CROO KED EV IL JU D GES
Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 32 of 99

31

      like JUDGE VALEIUE M ANNO SCHURR and Iknow they are Plotting to KILL
      m e rightnow ,K .J.V .BIBLE=ZECH A RIAH 11:5!!



 2.C heck outJudgq lo llN SC H L ESIN G ER tLew orstconflictofthem

     all.In this Crim inalConspiracy because in his FinalJudgem entO rder,of D ec.19th,

     2017.Judge SCHLESINGER review ofthe record and Exh.(28).M ustbe Arrested
     and Recuse him selfto V oid allofhisO rders foran open obvious Conflictoflnterest

     and the w orstof them a1lbecause he's doing allhis business w ith U S Bank and got
                                      e
      .



     $28,000,000.00 from IJ.S.Bank and theirBankster Partners and helping them and

     himselfmake money by Foreclosing and taking (stealing) our and probably others
     property for U .S.Bank while acting as the Judge on the U .S.Bank's Cases like our

     property,not on the Case's M erits to m ake him and U .S.Bank m oney lllegally.
                                                             *

     Here'sproof.JudgeJdldx scl-lt-cslxGsR isdoing businesswith us Bank Judge
     SCH LESIN GER and hasthe w orstrecord ofa11the m oney Conflicts oflnterestthat1

     have found outabout.Because in his 2016 and 2017 (Exh.29 and Exh.30)he got
     $28,000,000.00 TW EN TY EIG HT M ILLION in A ssetsbecause ofU .S.Bank asseen

     op page 2 O n his Form 6 Fulland Public Disclosure ofFinancialInterestpage 2.

     See line 4.he gotw ith SantanderBank $750,000 and Santander is SBA,Exh.30.1.

     W hich isU S Bank,Exh.31 and 32.



     O n hisForm 6 Iine5 SCHLESINGER gotwith FirstCit*izensBank $624,000.00
                           %
      A nd firstCitizensBank isthe Royale Balzk ofScotland,Exh.33 w hich isthe
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32
                         1
     RoyaleBank ofCanada,Exh.34 W hich isUS Bank.Exh.(35).


     On his Form 6.Line 6 He got $5,236,472.00 from M organ Stanley Brokerage
     A ccount w hich is J.P.M organ Bank,Exh.35.1.W hich is U .S.Bancorp Exh.36.

     And U .S.Bancorp isU .S.Bank,Exh.37.



     Judge SCHLESINGER on Iine 7. He Got $286,148.68 with State of Florida

     Deferred Com pensation,w hich is V oya and A IG ,Exh.38 and V oya and AlG is

     U.S.Bank,Exh.39. On line 8 he got $523,843.91 qith FederalthriftSavings
                         1
     W hich isthe SBA Exh.40.W hich isU.S.Bank,Exh.(31).And on Iine 9 he got
     $11,019,286.66with Evensky and Katzwhich istheAdvisorsideofUS Bank,Exh.
     41 pages 1-3.During the m onths of our 2017 Trial againstU S Bank and gotover

     $19 M illion two yearsin arow 2016 and 2017 from U S Bank,through U.S.Bank

     and its BanksterPartners.Judge SCHLESIN G ER a11w hile presiding overourCase

     has m ade m illions and m illions of D ollars from U S Bank.W hile at the sam e he

     Ruled against us in favorU .S.Bank using the wrong Docs.and lnfo and w hen we

     confronted him w ith the proofthatthe M ortgage w as signed w ith A xiom Bank not

     Hom ecom ings that U .S. Bank Conspiring Lawyerswused to illegally get a
                         %

     Foreclosure Judgem ent.A nd the Judge prom ised us that he w ould have another

     hearing forU .S.Bank to proove Standing,Exh.169 and 170.butatthe nexthearing

     a new Judge show s up nam ed Judge D e La O w ho also has the sam e M oney

     Contlictof
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33

      lnterest and he said and ORDERED that he would not change Judge
                                      *
      .


      SCHLESIN GER 'S O RD ER TO FO RECLO SE eventhough Judge SCH LESIN GER

      sâid he w ould give us a hearing to see if U .S.Bank could proove Standing and set

      up a sale forourHom e butafterw e plead w ith him to m ake them prove they ow ned

      the N OTE H E said that he w ould have another hearing for U .S.Bank to proove
      Standing,Exh. 164 but at the next hearing a new J *
                                                       udge show s up and the sam e

      thing happens because Judge M iguel M . D e La O is paid by U .S.

      B ank to.



  3.A nd we have Judge M iguelM .De La O who ruled on ourCase in
     01709/2019 Exh 42 and is doing business w ith CITIBAN K as seen in his FO RM 6

     From Tallahassee FU LL AN D PUBLIC DISCLO SURE O F FIN AN CIA L folnn 6,he

     goton line .$300,000.00 from CITIBANK Exh.43.And on his2018Form 6 page 3.
                                                             *

     On line 11hegotDiscAverSavingsAccountwith $111,432.71and DiscoverSavings
     Account is CITI BA N K is CITY G ROUP Exh.44, CITI G ROU P is M ORGAN

     STAN LEY Exh.45,and M ORGA N STAN LEY is US BA N CO RP,Exh.46,and U S

     BANCORP isUSBANK Exh.47.W hich isamajorContlictoflnterest.W hohehas
     ruled in favor of Exh.48. That is a Contlict of lnterest against us so he m ust be
                                      '
      .



     Arrested and recuse him self and vacate his Order,Exh.49.So D e La O m ust be

     A rrested and overtum ed or Recuse H IM SELF and VA CA TE H 1S ORDER S against

     uS.


                                                             *
                           $
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34

      the nexthearing a new Judge show s up and the sam e thing happens nam ed Judge

      V eronica D iaz w ho also hasthe sam e M oney Conflictof
                                                             *
                                                               lnterestand she said and
                           %
      ORD ERED that she w ould not change Judge SCH LESIN GER 'S ORDER TO

      FO RECLO SE eighthereventhough Judge SCH LESIN G ER said he w ould give us a

      hearing to see if U .S.Bank could proove Standing and setup a sale forour Hom e

      butafterw e plead w ith her like w e did rhe lastJudge before to m ake them prove

      they ow n the N OTE he said thathe w ould have another hearing for U .S.Bank to

      prove Standing,Exh..(. )butatthe nexthearing a new Judge shows up and the

      samethinghappensbecauseJudge V eronica D iaz is paid by U .S.Bank

      to.
                                                              *


  4.I-ookatJudgev ekonica D iaz whoruledagainstus06/02/2020Exh.50but
     says that W ELLS FA RG O BA NK on her form 6 full and public Disclosure of

     FinancialInterest is a B ank she's doing business w ith,because she's doing business

     w ith J.P.M organ and helping them to m ake m oney so thatshe can m ake m oney by

     Fôreclosing and taking our property while acting as the Judge to take the property

     anp m otion on the M eritsofthe Casebutforherand them to m akem oney lllegally.
     H ere's Proof: In her Form 6, from Tallahassee called FULL A ND PUBLIC

     D ISC LO SU RE O F FIN AN C IA L IN TER EST Exh.51.Says lines 1
                                                              *
                           1

      Judge Veronica D iaz is doing Businessw ith W ellsFargo asan A ssetof

      $174,312.00 And W ELLS FARGO BANK IS U.S.BAN K,Exh.14And 46.U .S.
                       %
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35

     Bancom which isJ.P.M organ.1.HerICM A 401K hasan Assetof$180,296.00.And

     her ICM A 401K is W ells Fargo,E% .52,53,54,55,56 and 57.H er $10,500.00 A udi

     carand her$4,800.00 AudiFinancialAssetiseitherAudiFargo orW achovia,which
     is w hy Iam Subpoenaing herrecord Ex14.58,59.A nd 60.W achovia isA udi,Exh.61

     and' W achovia is W ells Fargo Exh.62,63,64,15 and W ells Fargo is U S Bank,U S

     Bank Exh.(14) is U.S.Bancorp which is J.P.M organ Exh.36 and 7 Her Navient
     Studentloan isW ells Fargo and W ells Fargo isU S Bank, Exh.14 and 65.N avientis
                                                           *

     also JP M organ, Exh%6 and JP M organ is M organ Stanley,Exh.67 and 68.A nd

     M organ Stanley is U S Bank, Exh.14 and 69. 1. O n 11/19/19 Defendant Judge

     VERON ICA D IA Z issued an orderExh.78.There w as and isno hope to w in against

     the M ORTGA GE BA N K STERS w hen these JU D GES are their M ON EY M AKIN G

     PA RTN ERS.



  5.A nd w e have Judge SA M AN TH A RU IZ C O H EN who ruled in favorofU .S.Bank

     in our Case 05/12/2021 also has the sam e Contlictof Interest,on her 2021 Form 6

     FU LL AN D PU BLIC D ISCLO SU RE O F FIN AN CIAL IN TEREST w ith W ells
                                                           *


     rargowhichisu.s.Blnk.on line3shegot$162,130.00,line4.$32,695.84,line5
     $896,316.65 Exh.70,a1lwith W ellsFargo and W achovia ownsW ellsFargo which is
     U .S.BAN K ,Exh.71 and Exh.62 A nd on the Form 6 for 2021 she goton line 2.For

     Voya Retirem ent$221,156.57.and VoyaRetkementUSBank,E% .39.And2021Form

     6on line6.BM W Financialgot$10,.152.00,and BM W FinancialsisUS Bank,Exh.72.

     And on theForm 6 of2022.Shegotwith W ellsFargo on line4.
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    36

      6.$137,506.36, line 5. $153,455.04, line        $54,410.00, line 7. $6,208.70, line

         $874,506.74 Exh.73,A1lwith W ells Fargo and W achovia owns W ELL FARGO

         which is U .S.BA N K ,Exh.14.And on her2022 Fol'm 6 she gotV oya Retirem entline
                                                                 *
         8.$251,663.08.and Vvya Retirem entisUS Bank,Exh.39.And on her2022 Form 6

         on line 13 she gotw ith BM W Financial$4,512.00 and BM W The Financialis US

         Bank,Exh.72.All adding up to $2,804,727.01:Judge Sam antha Ruiz Cohen is
         D oing Businessw ith U .S.BAN K,U S BAN CORP,W A CH OV IA ,W ELLS FARG O,

         V OYA FIN AN CIA L A N D BM W FIN AN CIAL W H ICH IS ALL U .S.Bank which

         m eans U .S.Bank is Sam antha Cohens w hole way of m aking m oney other than her

         Judge's Salary this is W hy she has ruled in favor ofU S BA N K Pursuantto Florida

         Stat.112.131,Florida Rule2.160 (H)and FederalRulesofCivilProcedureRule 60,
         Plaintiff M AURICE SY M ON ETTE hereby files this M otion for Relief & Recusal
                                                                 *

         and supporting M em êrandum regarding the 05/12/2021 Sam antha Ruiz Cohen

         review ofthe record and FinalJudgem entO rder,Exh.74.



      7.Next,we haveJudge VivianneDelRio because shejustdid the lastOrderto do a
         Foreclosure sale on our property 06/21/2022. But m ust be arrested for an open
                                          .




         obvious



      8.Contlict ofInterestto do H om e Title Fraud.Because she's doing business w ith U S

         Bank who's doing a11the fraud to stealHom es and helping them to m ake m oney so
*                                                                *


         thatshe can
Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 38 of 99

37                                                                *
                               %
 9 m ake m oney by foreclosing and taking (stealing) ourproperty while acting asthe
     .



         Judge on the Case on our Property,noton the Case's M eritsbutforto m ake herand

         them m oney lllegally.Here'sProof:

          ln her Form 6 A ffidavit O ath from Tallahassee called FU LL A N D

          PUB LIC DISCLOSURE OF FINANCIAL INTERST says



          Form 6 for2019 on line2.,0.Shegot$750,215.00 with FRS which isFinanced By

          the SBA . Exh.75.W hich isU .S.Bank,Exh.76.

                               %


              Exh.(77).On line 3 she got$15,403.00 and on line 4 she got$5,691.Doing
           business W ith A IG ,w hich is J.P.M organ, Exh.78, 79,80,81, 82, 83,84 ,JP

           M organ w hich IsU .S.Bancorp,E* .46,24.A nd U .S.Bancorp is U .S.Bank Exh.14

           and 85.

            3.Exh.(86).And on line 4 she has $44,000 with E--l-rade which isM organ

           Stanley

           Exh.87 and M organ Stanley isJ.P.M organ,Exh.67 and 68,W hich isU .S.Bancol'p,

           (Exh.46,24).And U.S.Bancorp isU.S.Bank Exh.14 and
                                                          *
                                                             85.W hich m eans U .S.

           Bank is JUDGE VIVIANNE DEL R1O according to her Form 6 Signed by her
           A ffidavitofFinancial
         interestsw hole w ay ofw ealth m aking m oney and who partners w ith her in alm ostal1

           assetsshe ow nsotherthan herJudges salary is U .S.Bank.This iswhy she hasruled

           in favorofU .S.BA N K to give a date to sale ourhouse 06/21/2022,Exh.88.
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38
     A gainstthe Rule of Law nd w ithoutallow ing us to talk and present ourM otion to

     Rescue and Revertback to OriginalOrder in the Zoom hearing 05/04/2022,see

     fxh.89.(Video ofHearinggodsz.com Video//l),and weknow sheheardustrying
     to speak because the Transcriberofthe Transcriptcould hearus and could hearher

     and the Transcriberw rote in the Transcriptwhatw e w ere saying as the Judge and
                                                              *

     U .S.Bank's Law yer Acted like they couldn'thearus,butthe Transcriber w as in a

     different location from the Judge and from us in the Zoom H earing and he could

     hear the Judge and us and U .S.B ank's Attorneys.And the Judge could even hear

     the Transcriber that m eans the Judge could hear us. So the Judge deliberately

      ignored us to give the Sale D ate as ifwe m issed the hearing untilw e scream ed out
                                      .




      loud to listen to ourM otion to D ism issand Reconsiderand revertthis Case back to

      the OriginalDismissalwith Prejudice thatwason theDocket,Exh.l13 and 114.
      before U .S.Bank's M otion to Reset the Sale of our Property. See Exh. 8. But

      instead of listening to our M otion on the Record w hich w as done because The
                                                              *

      Judge didn'tw antithea
                          % rd on the record because itexposed them for quickly trying

      to take us out by A rm ed Eviction Sheriffs even though they're acting illegally.

      That'sw hy Judge V ivianne D elRio quickly referred us to her A ssistantand w ould

      nothearourM otion.SeeExh.9 (Videoon Godsz.com //2 Video -ofherassistant
      talkingtous),which isalldoneforU.S.Bank.W ho shehasruled in favorof.This
      is a Horrible Conflict of Interest. Then this Judge in the Transcript dated

      11/19/2023 thatshe w ould G ive usa hearing date on U .S.Bank to prove their



                                                                  *
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39
         Standing to Foreclose usbefore the sale date,Exh.171 page 5-7. Butshe gave usa

         hearing date after the sale ated to force us to have te file Bankruptcy then to
                              %
         illegally be putoutofBankruptcy Courtfrom another Contlicted Judge to getput

         in a position for their other Coconspirators which is the County lead by

         Com m issioner Renae G arcia w ith the full force of the Police and the Code

         Enforcem entO ftk ersto take the house by force because the house w ould no longer

         àe in our name to give the property to U.S.Bank and Developers who wantthe
                              for Condos to finish this Gentrifying Constructive Fraud
         W aterfront property '

         Conspiracy W hile sim ultaneously getting another        Sale D ate from another

         Contlicted Judge nam ed Judge Carlos Lopez appointed by two Contlicted people,

         THE Clerk and theldministrative Judge JenniferBally,Exh.176.The Judge
         CA RLOS LOPEZ appointed has one ofthe W orstContlicts ofa1l



         JU DG E C AR LO S LO PEZ--- -- G O T 2,077,949.00 CA SH From U .S.BA NK

         JU D GE C AR LO S LO PEZ----- -A LSO G O T 650.000.00 FRO M U .S.BAN K



      JUDGE CARLOS LOPEZ tlle C lerk ofC ourtstook page 2 outofm y M otion to Recuse which

      prom pted you to conclude thatitw as Iegally insufficient.Butthis is im possible because

      you got$2,077.949 cash and CD from Iberia Bank w hich is U S Bank.So in your Financial
                                                                  *
.   lnterests& Property Disclosurwsandtaking(stealing)ourpropertywhileactingastheJudgeonthe
    case on ourproperty,noton case's M eritsbutforto make him and them m oney Illegaljy,Here's
    proof:In hisForm 6,from Tallahassee called FULL AND PUBLIC DISCLOSURE OF FINANCIAL,form 6
    for 2021 it Says on Iine 4.ofpage 3.thathe gottw o m illion seventy seven nine hundred and
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40


     fortyninedollars($2,077,949.00)CASH with Iberia Bank,Exh.D.W hich isFirstHorizon

Bank,Exh.Eand FirstHorizonBankisSuhtrustBankExh.F,whichisUS.Bancorp/US.Bank

 Exh.H.and Exh.H2 On Iine 9 ofhisForm 6.Exh.D.Lopezgot$650,000.00 from Regions
 Bank w ho's doing business w ith W ells Fargo Exh.Z9.W hich is US Bank Exh.H2 Also

 Regions Bank can be traced to U5.Bank because RegionsisJP M organ,Exh.Z10.And JP

*MorganisBlackRock,Exh.pl1.And BlackRockisUS.Bancorp; US.Bank,Exh.Zl2.And
 Judge Carlos Lopez show er his Racist Biasedness against us BLACKS by allow ing a

 hearing to go on w hile the Defendantw asvery Sick an Incapacitated and couldn't hear

 or talk he w anted a day or tw o to get a Law yer to represent him now because he

 norm ally goes PRO SE.butthis isso hprribly Racistthatto stealourproperty he gave a

 sale date very quickly as if w e w ere w asting the tim e w hen a Docket from 2007 until

 now showsthatthey w ere the ones w asting tim e,Z13 and Zl4 ofthe 2007-12407-CA01

 to avoid show ing that they don't have a IegalAllonge they have never in the full16

 years of this Case brought in proof that they ow n the No1 Iegally and even ludge
                           1
 Rodriguez says this Case has Iegs and w ouldgnt allow them to dism iss my Case for

 Quiet title see Docket 2021-10826-CA01.Oh but I'm com ing afteryou on T.V., Radio

 and NewsPaperyou willbe destroyed to keep you from juststealing from usand stop

 us from defending ourselves as seen on the Transcript and on the Video W ITH THAT

 JUDGE CARLOS LOPEZ TELLING US that he w as going to give us a Hearing date before

 thesti/king Foreclosure Saletojustgiveourhouseawaytothese evilCannibal
        Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 42 of 99

        41
        W erew olfAttorneys lam ELAM the lastJudge Vivian DeIRio afterseeing ourm otion to

        Recuse HerselfforM oney ConflictsofInterests firstsaid she w ould give usa hearing to

        Dism issUS Bank's Fake Foreclosure before the Sale Date w ould be placed on ourhom e
                                                                    *
#
    -
        seeTranscriptpage s-7,EA .z6.And then she Recused herself,Exh.S.and closed the
        Case a day Iaterafterseeing thatJudge Valerie M anno Schurrthe judge w ho started
        this w hole fake Case also Recused herselffor m oney Conflicts of lnterest.Exh.R.and

        now another Conflict of interest Judge Carlos Lopez is being used by these Low Life

        Thieving Lawyersto have the Nerve to just outright illegally take ourHome that we

        were nptIate on paym ents on,they don't have a LegalAllonge on and they gotthe

        w rong Bankgs Assignm ent to the M ortgage this is unbelievable!You Stinking Lying

        Law yers are aIIgoing to JailIProm iss you that!Clerk of Courts Harvey Ruvin is also

    *   helping the Stealof Propvty In his Form 6,from Tallahassel called FULL AND PUBLIC
        DISCLOSURE OF FINANCIAL,form 6 for 2010 it Says on Iine 7 from the bottom thathe got

        $315,000.00 with W ells Fargo Bank, Exh. Hl. W hich is US Bank Exh. H2. And on
        administrative Judge Bailey'sForm 6,from Tallahasee called FULLAND PUBLIC DISCLOSURE

        OF FINANACIAL,form 6 for2018 itsayjon Iine 8 from the bottom she got $222,000 also
        from W ellsFargo Exh.H3 w hich is US Bank ;xh.H2 W ho hasruled in favorofUS BANK.This

        is a Horrible Conflict of Interest against us and there's m ore.The case w as closed and

         reopened afterJudge Vivianne DeIRio's Recusalsee Exh.H4 and pgs.land 2 and Exh.S so

        Judge Vivianne DeIRio's Orders are aI1Void according to FI..RuIe 2.160 (H)-(J).Ihave
         found thatourcase w asdirected to otherludgesin thissessPoolfrom the Conflicted of
    Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 43 of 99

* 42                         %

 Interest Clerk ofthe Courts HARVEY RUVIN EXH.(H1)and Adm inistrative Judge Bailey

 Ekh.(H3 )AND W E DO NOT W ANT TO ADD JUDGECARLOS LOPEZ TO THIS LIST OF EIGHT
 IUDGES W HO ARE BEING SUED FO R CO NFLICT OF INTEREST EXH.Z8 AND REPO RTED TO

 THE JQC TO BE REM OVED AS THE JUDGE SO THEREFORE W E ASKED JUDGE CARLOS

    LOPEZ TO RECUSE HIM SELF BECAUSE THE SAM E ADM INSTRATIVE JUDGE AND CLERK O F

 THE COURT W HO ARE BOTH CONFLICTED AND HAVE APPOINTED JUDGE CARLOS LOPEZ

    KNOW ING THAT HE HAS A $2MILLION CONFLICT OF INTEREST THIS SHOW S RICO
    RACKETEERING This Crim inal Conspiracy Case a11 started w ith the horrible Judge
                                                               *
*                            %
    VA LERIE M AN NO SCHU RR by illegally inserting herself in this Case H ere is The

    Prpof thatJudge VA LERIE M AN N O SCHU RR started this and m ade M ONEY to help

    them stealourproperty.Rule 1.540(b)says(2)NewlydiscoveredEvidence(3)Fraudand
    M isconduct(4)JudgementOrderisvoid;(5)Takethecaseback tothePriorJudgement
    (Judge.Zabel'slastJudgementofDismissalwith Prejudicedecree,order,ofproceeding
    forthefollowingreasons(2)Newly discovered evidence(wediscoveredherFon'
                                                                         n 6Full
    and Public Disclosure of Financial lnterest and the Partnerships and ownerships of the

    Banks involved to w ork the Conspiracy by giving Judge V ALERIE M ANN O SCH URR

    gifts ofM oniesto take the property from H om eownersw hich by due diligence could not
*                             #
    havebeendiscovered intimetomoveforanew trialofrehearing;becausewejustgotthe
    recordsfrom theState.(3)ThisshowsMisconductandFraud by showingthatin 2008on
    the Docket M ack W ells finally put in a M otion to Dismiss with Prejudice because
    Lawyersw ouldn'tfollow the JudgesO rdersto bring in theN ote
Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 44 of 99

43



     E.xh.(106)wealso saW thatJudgeZabeldid aDismissalwit
                                                        hPrejudicein2008and
     three w itnesses w ith A ffidavits have sworn to have seen this and it was on the

     record w ith Judge Zabel's signature that typed up saying the Case is D ism issed

     with Prejudice04/07/200
                         %
                            9 asindicatedontheDocketof% hichInow havetheRed
     Stamp Certified Copy oftheDocketseeExh.(115)linenumber(10)andwenow
     found Fraud and M isconductusing Horrible Contlict of lnterest in violation of F1.

     Rules 2.160 Thatin 2008 Judge V ALERIE M AN NO SCH U RR received M illions

     ofdollarsto change a Judgem entOrderso theretbre a11ofherJudgem entO rders are

     V oid because in 2010 on the DocketJudge VA LERIE M AINN O SCH U RR w hom

     w e have neverm etdid a PriorJudgem entoveragain in the sam e yearthree m onths

     laterdid a DismissalwithoutPrejudice with ourDocumentthatweprepared for
     Judge ZA BEL to sign and w e w atched her sign that Order of D ism issal w ith
                                                            *
     Prejudice,Exh.116K dExh.117Affidavits.By erasingJudgeZABEL'S signature
     and signing herown (VALERIE M ANNO SCHURR)signature in place ofJudge
     ZA BEL'S signature w hich is why the C lerk who's al1 in on the Conspiracy

     destroyed the Docket so as to hide the fact thatthere are two Judges O rder's For

     D ism issal w ith the sam e fonts Prepared by M ack W ells w ith Judge VA LERIE

     M AN N O SCHU RR'S signed Judgem ent being last, to supersede Judge Zabel's

     Dismissal with Prejudice so that she could Dismiss it without Prejudice three
     m onthslaterwhich w ould getrid ofJudge ZABLE'SO rderofD ism issalofthe Case

     withPrejudice Exh.(118)asseenontheDocketline(11)thiswasdonebecause
                                                             *
Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 45 of 99

44
     the Law says thatno Judge ofthe sam e C ircuitCourtcan change the Orderofthe
                                                            *


     Judge in thesame C/rcuitCourt(Ford MotorCo.V,Calloway).So she madeher
     ow n Order that did notChange Judge Zabel's Order exactly one year after Judge

     Zabel'ssameDismissalwith Prejudicehopingwewould notcheckthis,sothatshe
     can then thereforechangeonly herOrderofDismissalwithPrejudiceto Dismissal
     withoutPrejudicein an illegalEx ParteHearing sothatshewouldn'tappeartobe
     Crim inal.Thisw asdope to save Judge ZA BEL,theLawyersand U .S.BaIA /GM AC

     BAN K from being caughtin the Conspiracy to stealthe property eoncerning Judge

     Zabel doing a Judgem ent against H om eowners w ithout an actual Com plaint or

     Certified Copies ofthe Note,Allonge,Mortgage and Fssignmentor as Florida
     Statuesstates:N o Judgm ents can be rendered untilafterthe OriginalNote,A llonge,

     M ortgage and A ssignm ent and a11other D ocs on the record yetthey did thatwhile

     the H om eownerswhere m aking paym entsto A xiom Bank on tim e, Exh.119.This

     isaFelony and aConspiracy.Rule(1.540(b)thatsaysthatifTheJudgeRecused
     herselfany Judgem ents or Orderjthatthey putin are void? This w asa Conspiracy

     to stealthe Property and get out of trouble from Federal S.E.C Fraud and crim es

     againstthe Courtand the property ow ner to hide the M ERS Fraud of lying about

     selling N otes on the M arket as proven by the Cusipone Expert's A ftsdavitshow ing

     that U .S.Bank N ational A ssociation A s Trustee neverwhad any ow nership of the
                          %
     Leroy W illiam s M ortgage because A xiom Bank sold the N ote to Fidelity Strategic

     Fundwhichison theM arketuntiltoday,Exh.(120)andwhenyoudotheSEC
Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 46 of 99

45
     Edgar search under U S Bank N ationalA ssociation as Trustee there is no A xiom

     N ote in their Pool of N otes Exh.(121).A1l OF JUDGE VALERIE M ANNO
     SH URR 'S D ISM ISSA LS A RE V O ID AN D M U ST REV ERT                   TH E

     ORIGINAL DISMISiAL W ITH PREJUDICEAND SHE MUSTBE ARRESTED.
     JUD GE VA LERIE M A NN O SCHU RR adm its to these crim es by Recusing herself

     from M AU RICE SYM ON ETTE'S Case who asked her to Recuse for Crim es of
                                                           *
     misconduct,Exh.12A And ConflictsoflnterestseeExh.(123).According toRule
     1.540 (b) (c) (d) (e) Thatthe Judgement,or Order has a prior Judgementof
     Dismissalwith Prejudiceon the DocketofCaseNumber07-12407-CA01line(10
     and 11) and that Judgement of Dismissalwith Prejudice must be returned to
     Dismissalwith Prejudice andvoid and orstrikethe2007-12407-CA01and 2010-
     61928-CA01 Case because Judge VA LERIE M AN NO SCHU RR Recused herself

     b'
      ecause Ibroughtthisto herattention thatshe did thisCrim e and Schem e.Thistitle

     m ust be cleared and also because she did not default them w hen it took them 6

     m onthsto answ er m y Law suitthatm ustbe D efaulted butw asn'tDefaulted because
                                                           *

     Judge V A LERIE M AN N O SCHU RR helped them because as stated in her form 6

     A ffidavit of FINAN CIAL INTERESTS, Line 6. City N ational Bank gave her

     $400,000 which is business partners with U .S.Bank, GM AC, Royal Bank of

     Canada,which is W achovia and W ells Fargo,w hich is U .S.Bank are allBusiness

     Partners and one big happy Fam ily this is a H orrible Conspiracy and Conflict of

     lnterest to steal Prcperty from helpless B lack People w ith this Racism and

     D iscrim ination in the utm ost.
    Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 47 of 99

46
         O n 15020 S.R iver D r.M iam iFl.33167

      1. A l1 the Judges on this Case were being Paid and were benefitting from the

        Foreclosing Bank this is very Serious CONFLICTS O)7INTEREST.W E never
                           1
        stood a chance from the The top dow n the deck w as staeked against here's

        proofof each of the four Judge's CON FLICTS OF IN TEREST even the

        A dm inistrative Judge JEN N IFER BA ILEY w ho w hen Judge Thom as

         W illiam s Recused him self from this Case sighting CON FLICTS O F

         IN TEREST thisA dm inistrative Judge w ho also hasthe sam e




    CON FLICTS OF IN TEREST and helping them to m ake m oney so thatshe can
*                          %

    makemoney by Foreclosing and taking (stealing)ourproperty whileacting as
    the Judge on the Case on our property,noton Case's M erits butto m ake her

    and them m oney lllegally.



         A PPELLA TE JU D G E S TH A T H A V E C O NFLIC TS O F IN TER E ST

         W ITH W H O D ISM ISSED O U R A PPEA L S TO TH E 3RD D CA

         BECA U SE TH EY W ER E A LL PA ID BY C O N FL IC T-O F-

                         IxirEu s'
                                 rti.s.swxlksm ssk
    Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket
                                                        *
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    47
         A.BROW NW YN C.M ILLER---------------------------M ade$95,000 from US BANK

         B.KEVIN M ICHAEL EM AS---------------------------M ade $225,310 from US BANK

         c.EDW IN sCALES-----------------------------------------M ade $22,543 from US BANK



            APPELLATE JUD G E BR O W NW Y N M ILLER ,saysthatw ellsFargoonhis

            2012 Form 6 fulland public D isclosure ofFinancialoflnterestisa Bank doing Business w ith

            U S Bank because he'sdoing businessw ith U S Bank and helping them m ake m oney so thathe

            canmakemoneybyForeclosingandtakingourpropertywhileajtingastheJudgetotakethe
*

            property noton hisM eri1tsbutforto makehim and them money lllegally.Here'sprootlJudge
            Brow nwyn C.M illerisdoing business with W ells Fargo Bank as seen on his Form 6 page 1

            line4 hegot$95,000.00 from Tallahasseecalled FullAnd PublicDisclosureofFinancial
            form 6 Exh.10.2,W ellsFargo is U .S.Bank.Thatis a Conflictoflnterestagainstus and

            there'sm ore,Exh.10.3.lhave found thatourcase w as directed to him in thisPool,So he

            m ustrecuse him selfand vacatehisO rder,Exh.10.4 so Brownw yn M illerwassupposeto

                                 A CATE O RD ERS againstus, Exh.l0.5.ox 15020 s.R .DR .
            Recuse HIs SELIJand V'

            M IAM I 33167 AN D 1 Exh.A .



         2.APPELLATE JUDCE KEVIN MICHAEL EMAS--Made$225,310 from
            U S BAN K

            JU D G E K EV IN M IC H A EL EM A S,says that W ells Fargo on his 2012 Form 6

            Fulland public D isclosure of FinancialO f Interest is a Bank doing Business w ith

            U S Bancorp because he's doing business w ith U S Bancorp and helping them m ake

             m oney so thathe can m ake m oney by Foreclosing and taking ourproperty while
Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 49 of 99

48
     acting as the Judge to take the property not on his M erits butforto m ake him and

     them m oney lllegally.H ere's proof,Judge K evin M ichaelEm as is doing business

     w ith W ells Fargo as seen on his Form 6 page 1line 4 from Tallahassee called Full

     A nd Public D isclosure O f Financialform 6 Exh.4.5,W ells Fargo is U S Bancorp
                                                            *

     Exh. 4.6. And U S aancorp is U S Bank Exh. 4.7 That is a Contlict of lnterest

     against us and there's m ore,Exh.4.8.I have found that our case w as directed to

     him in this Pool,youwassupposetorecuse him selfand V acate hisO rder,Exh.4.9 so




     K evin M ichaelEm asyou m ustRecuse Y OUR SELF and VA CA TE YOU R

     O RDERS againstus,Exh.5.



3. APPELLATE JUDGE EDW IN SCALES--------------M ade $22,543from US BANK
                                                             *




     JU DG E EDW IN SCA LES,saysthatChase Bank on his2012 Form 6 Fulland

     public D isclosure ofFinancialO fInterestisa Bank doing Businessw ith U S

     Bancorp becausehe'sdoing businessw ith U S Bancol'p and helping them m ake

     m oney so thathe can m akem oney by Foreclosing and taking ourproperty while

     acting asthe Judgeto take the property noton hisM eritsbutforto m ake him and

     them m oney lllegally.H ere'sproof,Judge Edw in Scalesisdoing business

     w ith Chase Bank as seen on his Form 6 page 1 line 4 from Tallahassee called Full

     And PublicDisclosurfOfFinancialform 6 Exh.A,ChasèBank isUS Bancorp
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49
     Exh.B.A nd U S Bancorp isU S Bank Exh.C Thatis a Cœ tlictofInterestagainst

     us and there'sm ore,Exh.J.1have found thatourcase wasdirected to him in this

     Pool,So he m ustrecuse him selfand vacatehisO rder,ExhibitB so Edw in Scales

     you m ustRecuse H 1S SELF and V A CA TE H1S ORDER S againstus,Exh.F.Order

     ofDism issalon JA N .23,2023

     H EA D O F TH E D A D E C O U N TY IITH C IR C U IT M IA M I DA D E

     èovxTv CLERK oF cocuTs KEPT APPONTING JUDGES
     W HO W ERE BEING BRIBED (PAID) BY U.S.BANK BECAUSE
     TH E H EA D C LER K W A S BEIN G PA ID BY IJ.S.B AN K TO BE A

     PA R T O F TH E C O N STRU CTIV E FM U D C O N SPIA CY PL O T I!



     H A RV EY R U V IN H ead of M iam i D ade County Clerk of Courts,

     Records and D ockets also has a Contlictoflnterest on his 2011 Form 6

     From W ells Fargo.in the Am ountof $315,000.00,which is U S Bank,

     Exh.124.


                                                          *

     ADM INISTM TW E            JU D G E   JEN N IFER      BA ILEY      OF    TH E

     M IA M I D A D E C O U N TY IITH C IR C UIT C O U R TS H A S TH E

     SA M E M O N EY C O N FLIC T O F IN TER EST W ITH U .S.

     B AN K AN D K EPT C O SIG N IN G TH E CLE RK 'S A PPO IN TM EN TS
Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 51 of 99

50
     O F C O N FL IC TE D JUD G E S K EPT W H O W ER E BEIN G BR IBED

     (PM D)BY U.S.BANK BECAUSE TH E H EAD CLERK
     W A S BEIN G PA ID BY U .S. BA NK TO A S A PA R T O F TH E

     C O N STR U C TIV E FM U D C O N SPIA CY PL O T I!



     ADM INISTR:TIVE JCDGE BAILEY In her Form 6,
     from Tallahasee called FU LL AN D PU BLIC DISCLO SUR E O F

     FINA N A CIA L, form 6 for 2018 it Says on line 8 from the

     bottom ,Exh.151.she got'
                            $222,000 also from W ells Fargo

     w hich isU S Bank E xh.14. W ho has ruled in favorofU S BA N K .

     This is a H orrible Contlictoflnterestagainstusand there'sm ore.

     lhavefound thatourcasew asdirected to othgrJudgesin thisSess
                       %
     Pool a1l w ith the sam e Contlict of interests. She cosigned the

     Clerk of the C O U R TS appointing of Judges w ho w ere Paid off

     by U .S.B ank to rule in U .S.B ank's favor.




                                                      *
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     M IA M I D A D E C O U N TY C O M M ISSIO N ER S W ITH TH E

     SAM E CONFLICTS OF INTEREST F ITH U.S. BANK .
     PA ID TO PA SS LE G ISLA TIO N TO H E LP .U .S.BA N K



     After judges fail to steal homes for banks, banks have paid some
     Com m isioners like Com m issionerRene G arcia to help them !



     Com m issionerRene Garcia Sponsored RacistLegislation called Building

     and U nsafe Structure Legislation #220166''D iscrim inately to help the
                                                      *

     Bankster's Steal %Black People's H om e like m e. And like the

     Discriminating Racisthe isthey only used thatlegislation on Black (me)!



     C O M M ISSIO N ER G A R CIA 'S 2021 Form 6 A ffidavits Oath from

     Tallahassee

     Called FULL AND PIJBLIC DISCLOSURE OF FINAN CIAL

     IN TEREST it       shows on line 5. That Garcia got $23,000.00 from

     NavientBank which is JP M organ Chase Bant,Exh.66 and 122.JP
                        %
     M organ isB lack Rock,Exh.153.A nd

     B lack Rock is U .S.B ank 152. A nd JP M organ isU .S.B ancorp,Exh.24,
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52
     25.A nd U .S.Bancorp isU .S.Bank,Exh.14 and 47.

     C om m issioner G arcia is 2021 Form 6 A ffidavits O ath from Tallahasee

     called FULL Ar           PUBLIC DISCLOSURE OF FIN AN CIA L

     W TEREST it shows on line 6 that Garcia got $1l8,000.00 from First

     Bank w hich isU .S.Bancorp, Exh.123 and U .S.B ancorp us U .S.Bank,




                        $

     Exh. 14.A l1these C ON FLICTS O F IN TER EST and allthe m oney he's

     m aking is from the sam e G M A C -U .S.B ank w ho tried to Foreclose on us

     underM ack W ells,Exh.124,125 and 126.Butfailed and after failing to

     Foreclose U .S.Bank's Conspirator M oney Partner C om m issioner R ene

     G arcia. Sponsored, a new Legislation called içbuilding and unsafe

     structure Legislation #220166''To use Code Com pliance O ffcers and

     Police O ffcers to illegally search and SEIZE the W hole Property
                                                       *
     w ithouta W arrantrr a Brake Orderorthe Legislative ltem File N um ber

     220166 for U nsafe StructuresR equired R ecertification N otice to O w ner

     for lnspection the Code Com pliance O fficers and then after illegally

     Search and SEIZIN G the W hole Property the Police gave a Fake W arrant

     thatshowsnotimethattheW arrantwasissued,no Judge'sname,no
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53
     Case N um ber, no .D oc Stam p, no Certitied Stam p and on that Fake

     W arrant it never M entioned thatCode Com pliance could Search and or

     SeizetheyjustcameintheHouseandProperty andannouncedthey have
                                                           *
     Seized ourH ouse fprU nsafe Structure.



     C O M M ISSIO N ER R EBEC A SIIS?k one of the head Sponsors of the

     unsafe structure Iegislation C onstructive fraud Conspiracy w ith Com m issioner



     R ene G arcia hasa Contlictoflntereston lines4 and 5 ofpage 3 ofher2021FU LL

     AN D PU BLIC DISCLO SU RE OF FINA N CIAL IN TEREST from lnterAm erican

     bank which isCitiBank $2,695.74 on line4 and $1,510.11on line 5.City Bank is

     City group which is M organ Stanley. W ho is U .S.Bxnk Javier D Souto has a

     ContlictofIntereston line 7 ofhis 2020 FULL A ND PU BLIC D ISCLO SURE OF

     FINANCIAL INTEREST $20,000 from Ford which isGeneralM otors which is
     D eutsche Bank N O W 1'
                           M REPORTIN G JUD GE SCH URR ALL THESE JUD GES

     AND ALL THESES OFFICIALS TO GOVERNOR DE SAN TIS, THE JQC, THE
     BAR, THE US DO$ THE FBI,'THE FLOAJDW STA TE W TTORNEJ$ THE BBC

     M ED IA AND TH E NE ll' YORK TIM ES W H O FO LW D THA T l31 FED EM L

     JUD GES CA UGH T R ULIN G ON CASE WHILE H A VIN G M ONE Y CONFLICTS

     OF IN TEREST BECA USE TH EY AS RACISTS A RE STILL EN FORCIN G TH E

     SOU TH 'S BLA CK CODE LA W W HICH SA Y S BLA CK PEOPLE CA N 'T 0 %
Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 55 of 99

54
       PROPERTY NOW TKAT'SA DANM ED

                                     SH A M E II!



     3RD C A U SE O F A C TIO N TU R NIN G O F EL EC TR ICA L PO W ER T O

     D ISA BLED PER SO N IN N EED O F O X Y G EN IN V IO LA TIO N O F



                             FL.STAT.366.15(1)(2).

                        t

       STAT.366.15 (1) (2) APRIL,22ND 2023 FLORIDA POW ER AND
       LIGHT (FPL) W AS ORDERED BY RENE GARCIA'S NEW
       LEG ISLA TION O F LW SAFE STRU CTU RES #220166 TO TUR N OFF

       TllE POW ER TO TH E H OU SE BECAU SE THEY W ERE GOING TO

       D EM OLISH IT IN VIOLATION OF FL.STAT.366.15(1)(2)W HICH
                         ,




        SA Y S Y OU CA N N O T TU RN OFF TH E PO W ER TO A H OU SE TO A

       D ISA BLED PER SON >      0 N EED S O XY GEN Y ET TH EY DlD IT

       ANYW AY AND ALM OST KILLED M ACK W LLS W 110 HAD TO
        G O TO TH E H O SPITAL BECA U SE H E COU LD N O T BR EA TH SEE

        G OD S2.CO M V ID .H .
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55

4TH CAU SE OF ACTIO N FEDERAL QUITE TITLE AG AINST FANNIE
M A E.FEDE M L 28 U .S.C O D E SS 2409a A N D FL .STA T.65.021



     Boss Group M inistries Inc. w as the ow ner of the property 15020 S. River Dr.

     M iamiFlorida Statues702.01(A1)(l)which wasin a dispute between me and my
                         %
     brothers who are the owners of the property but signed it over to Boss Group

     M inistries Inc. Exh.103.W ho had since have done a Bonafede (Notarized)Quit
     Claim D eed to M aurice Sym onette M ack W ells and Signed by M aurice Sym onette

     the President of Boss Group M inistries Inc. See Exh.104.W hich m eans that 1

     M aurice Symonette and M ack W ells has a Claim and a Cause ofAction against
     Fannie M ae and U .S.Bank N A w ho w as noticed ofm y Claim on the D ade County

     Records which w as before their publication of Foreclosure which by law w ould

     have stopped m y Claim but the 1aw says if they are notices up to 30 days after

     publication of the Foreclosure that the claim is stillGood Fl.Statutes sub section
                          %

     733.702 (1),and 733.2121(3)(a)and 733.701and causeofaction with and allof
     thisconfusion isbecause U.S.Bank trickery.This isa QuietTitle ComplaintCase
     w hich requiresthatU .S.Bank show a fullchain oftitle w hich isExtrinsic Evidence

     according to 2005 Florida Code CivilPractice and Procedure Quieting Title,Fl.
                                     '
     .
     Stat.65.021 and Federal28 U .S.Code ss 2409a and Realestate;rem oving clouds,--

     Ghancery courtshavejurisdiction ofactionsbroughtby any person orcorporation,
     w hetherin actualpossession ornot,claim ing legalorequitabletitle to land against


                                                             *
Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 57 of 99

56
     any person orCom oration notin actualPossession,who has,appearsto have claim s

     an adverse legal or equitable estate, interest,or claim iherein to determ ine such
                         %
     estate,interest,or claim and quietorrem ove clouds from the title to the land.ltis

     no bar to relief thatthe title has notbeen litigated at law orthatthere is only one

     litigantto each side ofthe controversy orthatthe adverse claim ,estate,orinterestis

     V oid upon itsface,orthough notVoid upon its face,requiresExtrinsic Evidence to
                                     *
     .

     establish itsvalidity (Exh.105)and 65.041(3)(4)(3)REAL ESTATE REM OVING
     CLOUDS;DEFENDXNTS.No person notaparty to the action isbound by any
     Judgmentsrendered adverseto hisorherinterests,butanyjudgmentfavorableto
     the person insures to that person's benefit to the extent of his or her legal or
                                                             *
     equitabletitle.(Exh.W 6).Layersclaim in number4 oftheirM otion to DISMISS
     that M AURICE SYM ONETTES Quite Title Case is Res Judicata, but in the
     Transcripts of Proceedings of 12/09/19 under Judge V ERON ICA D IAZ pg.6 line

     24-25, pg.8 line3-11 and pg.9 6-8 the Judge V ERON ICA DIAZ as did a1lof the

     otherJudges said Sym onette is nota Party to the case and did notallow Sym onette

     to Participate in the Trials and was even told that l w ould have to sue the bank

     nbyselfto becom e a party.Line 07/01,
                                         /15 pg.ll line 13-25 Exh.107.and allofpg.12

     lines 12-14' Exh.108.U .S.Bank stated that M AU RICE SY M ON ETTE is a non-

     party Third-party Claimant,according toFloridaStatute65.041(Exh.106).Thisin
                                                             *

     credulous w icked ballk from the beginning of even the 2007 Case never FILED or

     broughtin a copy ofthe O riginalN otew ith theA llonge,the OriginalM ortgage,or
Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 58 of 99

57
     the A ssignm ent of U .S. Bank! W e saw Lis Pendens but have never seen the

     Complaint their 2007-12407-CA 01 Com plaint of w hich by Law m ust have the

     Certification ofthe OriginalProrflissory N ote to file a Foreclosure action Fl.Statute

     702.015(4)lf the Plaintiff is in Possession of the Originalpromissory note,the

     Plaintiff must file under penalty of Perjury a certification with the Court,
     Contem poraneously w ith the filing of the com plaint for Foreclosure, that the

     Plaintiff is in possession ofthe originalprom issory N ote,The certification m ustset
                           %
     forth the location of the note, the nam e and title of the individual giving the

     certification,the nam e ofthe person who personally verified such possession,and

     the tim e and date on which the possession was verifed.Correctcopies ofthe N ote

     and all A llonges to the N ote m ust be A ttached to the Certification.The O riginal

     kote and the Allonges must be filled with the Court before the entry of any
     Judgementofforeclos'
                        ure orJudgementon theNote.(Exh.109)and Fl.Rules 1.115
     (C)(Exh.110),and the correctcopies ofthe M ortgage,NOTE,ASSIGNM ENT
     A ND A LLON GE A LL TOG ETHER attached to the Certificate,Bank ofA m erica

     V.Leonardinthe3D/A.AndifthePromissoryNotedoêsnotnamethePlaintiffas
     Payee the N ote m ust Then bare a special endorsem ent or Plaintiff m ust subm it

     evidence ofan A ssignm ent,Ortiz v.PN C BA N K 3D CA ifyou look atthe Docket

     of2007-12407-CA01 DocketPg.2 line 1-21,againstFl.Stat.702.015(4)lfthe
     Plaintiff is in Possession of the Originalprom issory N ote,the Plaintiff m ust file

     underpenaltyofperjuryacertificationwiththecourt,contemporaneouslywiththe
    Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 59 of 99

    58

         flling ofthe Complaintforforeclosure,thatthe plaintiffis in Possession ofthe
         OriginalProm issory Note.The certification m ust setforth the location ofthe N ote,

         the nam e and title ofthe individualgiving the Certification,the nam e ofthe person
*

         who personally veriAed such possession, and the time and date on which the
         possession was verified.Correct copies of the N ote and a1lA llonges to the N ote

         m ustbe Attached to the certification.The OriginalN ote and A llongesm ustbe tiled

         w ith the Courtbefore the entry of any Judgem entofForeclosure or Judgem ent on

         the Note.And Rule 1.115(C).This is why Judge Isabelwas so angry with the
         Attorneys because she w as em barrassed that she did the Judgem ent before any of

         the requirem ents ofthe Fl.Stat.702.015 w ere m etthereby endangering even heras

         aJudge.Servicesnow referredtoas(AFS)istheBanktheNotewasdonewithand
         (AFS)soldtheNotewith the M IN.Accountnumber1001
                                                      *
                                                        76105062733202 (M at
         thebottom ofeachpageoftheadjustablerateNoteExh.95,withtheCusip Number
         315912873 to Fidelity Strategic RealRetum Fund according to the CU SIP search

         by CU SIPON E EX PERT CU SIP search service as stated by The ExpertW itness

         Affidavit Of Fact W esley Jarvis,Trustee for CUSIPONE Trust Exh.(96).The
         (AFS)Note wassold by (AFS)9/7/2005 threemonthsafterLeroy W illiamssigned
         the (AFS) Note and .is with Fidelity Strategic Real Return Fund untilthis day
         accordingto TheCUSIPONE ExpertW itness Exh.(97)Sothe(AFS)Notenever
         w entto U S BAN K N A TION A L A SSO CIA TION A S TRU STEE FO R R ASC 2005

         AHL3now referredtoas(USB).So(USB)cannotForeclseonthis(AFS)Noteno
                              %
 Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 60 of 99

*59
      any of the above stated D efend even Fidelity Strategic Real Return Fund cannot

      Foreclosebecause (USB)in 2007 did a Publication to Forecloseon the(AFS)Note
      andFidelity StrategicRealReturnFunddid notObjectorlntervenewithin 30 days
      ofthe publication ofthe Foreclosure of2007 ofFidelity Strategic RealRetum Fund
                                      *
      .

      standingtoForecloseaccordingtoFl.Stat.t)Exh(111)orany lnterestintheNote
      and therefore they have no standing And according to the SEC-FA SB GA AP Rules

      once a N ote issold on the M arket itm ustbe burned and Destroyed because a N ote

      cannotexistatthe sam e tim e thata stock,bond or fund existbecause thatisD ouble

      Dipping using the Fpnd and the Note ILLEGALLY.Yhe PSA cannot be used
      because in the Edgar Report show s that U S Bank N A as Trustee has no

      AxiomBank M ortgagesin it'spoolofNotes,Exh.(207)and in theCupisoneExpert
      Reportreferred to m e by theM anagerofthe S.E.C .Dow n Town M iam ion Brickell,

      this expert said the A xiom loan is not w ith U S Bank N A . A ccording to Fl.
                                      ''
      .


      Appellate Court BOYD V.W ELLSFARGO BANK (4thDCA) in Violation of
      Florida Evidence Code 90.902. H olds PSA lnsufficient to Prove Foreclosure

      Standing in an appeal involving an am icus filed by a nationalM ortgage lending

      trade association, the D istrict Court of A ppeal of the State of Florida, Fourth
                                                             *

      D istrict,recently rev& sed a tinalJudgem entofForeclosure in favor of a M ortgage,

      holding thatthe M ortgage failed to prove that ithad possession of the Prom issory

      notew hen the Com plaintw as filed and thus lacked standing to sue because:despite

      theadmissionofthePoolingand ServicingAgreement(PSA)intoevidence,theevidence
    Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 61 of 99

    60
         wasstillinsum cienttoshow thattlieIoanwasphysically transferretlwhichiswhatthey
         used to prove their Standing in tllis Forclosure Case according to there Own

         Memorandum of LAW Page5 Iine3,Exh.(208) and therewerediscrepanciesbetween
         the copy ofthe note attached to the Com plaintand the originalintroduced in evidence

         at trial.D uring the trial,the Plaintiff M ortgage tried to prove that it Possessed the
                              t
         N ote w hen the Com plaintw as filed by offering the PSA into evidence over the

         borrowers'hearsay objection.The trial Judge Schlesinger who had twenty-eight
         m illion in U .S.Bank Coniictoflnterestm oney adm itted the PSA into evidence as

         a self-authenticating docum entpursuantto section 90.902 ofthe Florida Evidence

         Uode because ithad been filed with the Securities and Exchange Commission
         (SEC).The trial court then entered a finaljudgment of Foreclosure in the
         M ortgagee's favor, from which the borrowers appealed.O n Appeal the Fourth

         DistrictexplainedthatjustbecausethePSA wasself-authenticating didn'tmean it
         wasadmissible,citingCharlesEhrhardtsFloridaEvidenlehornbook:ûûEvenaftera
         docum ent is A uthenticated,it w illnot be adm itted if another exclusionary rule is

         applicablc.For exam ple,w hen a docum ent is hearsay,it is inadm issible even if it

         has been properly authenticated.'' The Court reasoned that w hile ûtthe PSA

         purportedly establishesa trustofPooled M ortgages,(thejparticularmortgage (at
                                           ''
         .


         issue)wasnotreferencedinthedocumentsfiled with SEC ...gandj(tlheBank did
         nbtpresentsufficientevidence through itsw itnessto adm itthis unsigned docum ent

         as itsbusiness record.W hile the w itnesstestified thata m ortgage loan schedule,


                                                                    *
#
Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 62 of 99

61


                          %



     which listed the subjectmortgage,waspartofthe Bank's businessrecords,the
     m ortgage loan schedule itself does not purport to show that the actual loan w as

     physically transferred. SdBecause the M ortgagee's w itness did not explain ûûthe
                                     '
     .

     workingsofthePSA or(loanscheduleq,''andno otherdocumentorotherevidence
     show ed how the noté w as transferred to the m ortgage pursuant to the PSA ,the

     evidence w as insufticient to prove that the note in question ûûw as w ithin the

     possession ofthe Bank asTrustee atthe tim e suitw as filed.''-l-he m ortgagee argued

     that the trial court'j ruling should nevertheless be Qffirmed under the tipsy
     coachm an doctrine,pursuantto which an appellate courtm ay affirm a trial court's

     ruling.In otherw ords,a trialcourt'sincorrectreasoning m ay be corrected on appeal

     for any reason that appears in the record.H ow ever,the Courthere noted that,in

     order for the doctrine to apply, içthe record m ust be sufficiently developed to

     supportan alternative theory for affirm ance.''The Fourth D istrict previously held

     thatthere is a ûtpresum ption ofstanding if the note attached to the Com plaintw as

     the sam e astheN ote attached to the com plailltwasthe sam e asthe N ote introduced

     attrial.''TheAppellateCourtrejectedthemortgagee'sargumentbecausetttheNote
                                                              *

     attachedtotheComlaintwasnotin thesamecondition astheoriginalintroduced
     attrial-''
Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 63 of 99

62
     5thCAIJSE OF A CTIO N :QUITE TITLE 2005 FLO RIDA CODE

     CIVIL PM CTICE AND PRECEDURE Q UIETING TITLE

     C HAPTER 65.041.
      .
                    ,IRS 34.1.1.8.1 (08-11-2004)AND 34.1.5 (08-11-

     2004)AND FLA.STATUE 95.11NEW LY DISCO VERED

     EVIDENCE AND FRAUD.FEDERAL RULE 60 (B)(2)(4)AND & .z
                                                          *

     R.O F CIV .PRO C.1540.STANDING CAN BE Q UESTIO NED AT

                      A N Y TIM E FED ER A L R U L E 3.1



     Thepropertywhich isthesubjectmatterofthisactionissituatedintheCounty of
     DadesState ofFlorida,and described as follow s:15020 South RiverDr.M iam iF1.

     33167 thatM aurice Sym onette owns Exhibit104.According totheQuitClaim
     DeedbeforethefirstLisPendenswasfiledwithoutaComplaintbeingtsled(See
     Docketcase# 2007-12407-CA01tlrstsecond and third line)which m eansthateven
     though theBonafedeN otarized QuitClaim DeedwasnotwRecorded which isnot

     required according to FloridaStatute695.01(2)thatQuitClaim Deed wasbefore
     the fake LisPendensdone Illegally w ithouta Com plaint.A nd the Second Recorded

     QuitClaim Deed dated Jan.18th2013 to BossGroup M inistriesInc.Exh.104.
     W hich wasQuitClaimed Deeded Jan.26th2013to MAURICE SYM ONETTE
     which w asbefore the second Am ended Com plaintfrom U .S.Bank w asFiled and

     approvedby Judge SUHLESINGER seeDocket2()10-61928-CA01dated
    Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 64 of 99

    63
         01/13/2015 w hich by then they knew thatthe record show ed thatBoss Group

         M inistriesInc.w asthe ow nerofthe property 15020 S.RiverDr.M iam iFlorida
*

         Statues702.01(A1)(!)whichwasinadisputebetweenmeandmybrotherswho
         the ownersoftheproperty butsigned itoverto BossG roup M inistriesInc.

         Exh.103.W ho had sincehavedoneaBonafede (Notarized)QuitClaim Deed to
         M aurice Sym onette Signed by M aurice Sym onette the PresidentofBossGroup

         M inistrieslnc.See Exh.103.W hjchm eansthatIM aurice Sym onettehasaClaim
         and a Cause ofA ction againstU .S.Bank N A who w asnoticed ofm y Claim on the

         D ade County Records which w asbefore theirpublication ofForeclosurew hich by

         1aw w ould have stopped m y C laim butthe law says ifthey are noticesup to 30 days

         afterpublication ofthe Foreclosurethatthe claim isstillGood Fl.Statutessub
                                                                *


         section733.702(1),a%
                            nd733.2121(3)(a)and 733.701andcauseofactionwithand
         al1ofthisconfusion isbecauseU .S.Bank trickery.ThisisaQuietTitleComplaint
         Case which requiresthatU .S.Bank show a fullchain oftitle which is Extrinsic

         Evidence according to 2005FloridaCodeCivilPracticeand ProcedureQuieting
         Title,65.021Realestate;removingclouds,--Chancery courtshavejurisdictionof
         actionsbroughtby any person orcorporation,whetherin actualpossession ornot,

         claim ing legalorequitabletitle to land againstany person orCorporation notin

         actualPossession,who has,appearsto have claim san adverse legalorequitable

          estate,interest,orclaim thereintodeterminesuchestate,interest,orclaim andquiet
                              %
          orrem ove cloudsfrom thetitle to the land.ltisno barto reliefthatthetitle hasnot
                                                                 *

                              %
    Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 65 of 99

    64
         been litigated atlaw orthatthere isonly one litigantto each side ofthe controversy

         orthatthe adverse claim ,estate,orinterestisVoid upon itsface,orthough not

         Voiduponitsface,requiresExtrinsicEvidencetoestablish itsvalidity(Exh.166)
         and65.041(3)(4)(3)REAL ESTATE REM OVING CLOUDS;DEFENDANTS.No
          '
         Person nota party to the action isbound by any Judgm entsrendered adverse to his

         orherinterests,butanyjudgmentfavorabletothepersoninurestothatperson's
         benefittotheextentofhisorherlegalorequitabletitle.(Exh.167).Layersclaim in
         num ber4 oftheirM olion to DISM ISSthatM AURICE SYM ONETTES QuiteTitle
         Case is ResJudicata,butin the TranscriptsofProceedingsof 12/09/19 underJudge

         VERON ICA D IAZ pg.6 line 24-25, pg.8 1ine3-11 and pg.9 6-8 the Judge

         VERON ICA D IA Z as did a11ofthe otherJudges said Sym onette isnota Party to

         thecase and did notallow Sym onetteto Participate in the Trialsand w aseven told

         thatIwouldhaveto spethebank myselftobecom eaparty.Line07/01/15 pg.l1
         line 13-25 Exh.168.and allofpg.12 lines 12-14 Exh.169,the Bank stated that

         M A UR ICE SY M ON ETTE is a non-party Third-party Claim ant,according to

         Florida Statute65.041(Exh.l10).Thisin credulouswicke*d bank from the
*

         beginning ofeven the 2007 Case neverFILED orbroughtin a copy ofthe Original

         N ote w ith the A llonge,the O riginalM ortgage,orthe A ssignm entofU .S.Bank!W e

         saw LisPendensbuthave neverseen the Com plainttheir2007-12407-CA 01

         Complaintofw hich by Law m usthavethe Certification ofthe OriginalProm issory

         NotetofileaForeclosureactionF1.Statute702.015(4)lfthePlaintiffisin
Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 66 of 99

65
     Prssession ofthe Originalprom issory note,the Plaintiffm ustfileunderpenalty of

     Perjury acertiGcationwiththeCourt,Contemporaneouslywiththefilingofthe
     com plaintforForeclosure,thatthe Plaintiffis in possession ofthe original

     promissoryNote.Thqcertitscationmustetforththelocatlonofthenote,thename
     and title ofthe individualgiving the certitication,the nam e ofthe person w ho

     personally verified such possession,and thetim e and date on w hich the possession

     w asverified.Correctcopies ofthe N ote and allA llongesto theN ote m ustbe

     A ttached to the Certification.The OriginalN ote and the A llongesm ustbe tilled

     w ith the Courtbefore the entry ofany Judgem entofforeclosure orJudgem enton

     theNote.(Exh.171)andFl.Rules1.115(C)(Exh.172),andthecorrectcopiesof
     the M ortgage,N O TE,A SSIGN M EN T AN D ALLON GE A LL TOGETHER

     attached to the Certificate,Bank ofA m erica V .Leonard in the 3DCA .A nd ifthe
                                                              *
     Prom issory N ote doe:notnam e the PlaintiffasPayee theN otem ustThen bare a

     specialendorsem entorPlaintiffm ustsubm itevidence ofan A ssignm ent,Ortiz v.

     PN C BAN K 3D CA ifyou look atthe D ocketof2007-12407-CA 01D ocketPg.2

      line 1-21,againstFl.Stat.702.015(4)lfthePlaintiffisin Possession oftheOriginal
     promissoryNote,thePlaintiffmllstfileunderpenaltyofperjuryacertificationwith
      the court,contem poraneously w ith the filing ofthe Com plaintfor foreclosure,that

      theplaintiffis in Possession ofthe Originalrom issory N ote.The certitication m ust

      setforth the location oftheN ote,thenam e and title ofthe individualgiving the

      Certification,the nam e ofthe person w ho personally verified such possession,and
                           t
    Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 67 of 99

*   66                        %
         thetim e and date on w hich the possession w asverified.CorrectcopiesoftheN ote

         and allA llongesto the N ote m ustbe Attached to the certification.The Original

         N ote and A llongesm ustbe filed w ith the Courtbefore the entry ofany Judgem ent

         ofForeclosureorJudgementontheNote.And Rule 1.115(C).Thisiswhy Judge
         isabelwassoangrywiththeAttomeysbecauseshewasembarrassedthatshedid
         tke Judgem entbefore any ofthe requirem entsofthe Fl.Stat.702.015 w ere m et

         therebyendangeringevenherasaJudge.Servicesnow referredtoas(AFS)isthe
         BanktheNotewasdonewithand(AFS)soldtheNotewiththeM IN.Account

         number10017610501733202(M atthebottom ofeachiageoftheadjustablerate
         Note Exh.(173)with theCusipNumber315912873toFidelity StrategicReal
         Return Fund according to the CU SIP search by CU SIPON E EXPERT CU SIP

         search service asstated by The ExpertW itnessA ftidavitofFactW esley Jarvis,

         TrusteeforCUSIPONE TrustExh.(174).The(AFS)Notewassoldby(AFS)
         9/7/2005threemonthsafterLeroy W illiamssigned the(AFS)Noteand iswith
         Fidelity Strategic RealR eturn Fund untilthisday according to The CU SIPON E

          ExpertW itness Exh.(175)Sothe(AFS)Noteneverwentto US BANK
          N ATIONA L A SSOCIA TION A S TRU STEE FOR RA SC 2005 A HL3 now referred
                                                                  *

          toas(USB).So(USB)cannotForecloseonthis(AFS)Notenoanyoftheabove
          stated D efend even Fidelity Strategic RealReturn Fund cannotForeclose because

          (USB)in 2007didaPublicationtoForecloseonthe(AFS)NoteandFidelity
          StrategicRealRet'ul'
                             nFunddidnotObjectorlntervenewithin30daysofthe
    Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 68 of 99

    67
          publication oftheForeclosure of2007 ofFidelity Strategic RealReturn Fund

          standing toForecloseaccording to Fl.Stat.t) Exh (176)orany lnterestin theNote
          and therefore they have no standing And according to the SEC-FA SB G A AP Rules

          once aN ote is sold on the M arketitm ustbe bum ed and D estroyed because a N ote

          cannotexistatthe sam e tim e thata stock,bond orfund existbecause thatisD ouble
                               $
          D ipping using the Fund and the N ote ILLEGA LLY .The PSA cannotbe used

          becausin the Edgarreportand in the Cupisone reportthe Axiom loan is notw ith U S

          Bank.Accordingto Fla.App.Court(4thDCA)HoldsPSA InsufficienttoProve
          Foreclosure Standing in an appealinvolving an am icus filed by a national

          V ortgagelendingtradeassociation,theDistrictCourtofAppealofthe Stateof
          F.lorida,Fourth D istric't, recently reversed a finalJudgem entofForeclosure in favor

          ofa M ortgage,holding thatthe M ortgage failed to provethatithad possession of

          theProm issory note w hen the Com plaintw asfiled and thuslacked standing to sue

*         MCCYVSCI                                                 *




    (a) despitetheadmission ofthePoolingandServicingAgreement(PSA)intoevidence,the
    (b) evidencewasstillinsum cienttoshow thattheleanwasphysically transferred;and

    (c)    therewerediscrepanciesbetween'thvcopy ofthe note attached to the Complaintand
           theeriginalintroduced.in evidenceattrial.

           During the trial,the Plaintift-M ortgage tried to prove that it Possessed the N ote

           when the Com plaintw as filed by offering thePSA into evidence overthe
Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 69 of 99

68
     borrowers'hearsay objection.Thetrialjudge admitted the
                                                         *
                                                            PSA into evidenceasa
                          %
     self-authenticating docum ent pursuant to section 90.902 of the Florida Evidence

     Code because it had been filed w ith the Securities and Exchange Com m ission

     (SEC).The trial court then entered a finaljudgment of Foreclosure in the
     M ortgagee's favor, from which the borrow ers appealed. On Appeal the Fourth

     Districtexplained thatjustbecausethePSA wasself-authenticating didn'tmean it
     w as adm issible,citing CharlesEhrhardtsFlorida Evidence hornbook:ççEven aûera

     docum ent is A uthenticated,it w illnot be adm itted if another exclusionary rule is

     applicable.For exam ple,w hen a docum ent is hearsay,it is inadm issible even if it

     has been properly authenticated.'' The Court reason:d that while ûûthe PSA
                          %
     pumortedly establishes atrustofPooled M ortgages,(thelparticularmortgage (at
     issuelwasnotreferenced inthedocumentsfiledwith SEC ...Landj(tlheBankdid
     notpresentsufficientevidence through itsw itnessto adm itthisunsigned docum ent

     as its business record.W hile the w itness testified that a m ortgage loan schedule,

      which listed the subjectmortgaje,was partof the Bank's business records, the
      m ortgage loan schedule itself does not purportto show that the actual loan w as

      physically transferred.''Because the M ortgagee's w itness did not explain iûthe

      workingsofthePSA orgloan schedulel,''and no otherdocumentorotherevidence
      show ed how the note w as transferred to the m ortgagewpursuant to the PSA , the
                           1
      evidence w as insufficient to prove that the note in question ttw as w ithin the

      possession ofthe Bank as Trustee atthe tim e suitw as fled.''The m ortgagee argued

      thatthetrialcourt'sruling should neverthelessbe aftsrm ed underthe tipsy
    Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 70 of 99

    69




         coachm an doctrine,pursuantto which an appellate courtm ay aftirm a trialcourt's

         ruling.ln otherw ords,atrialcourt's incorrectreasoning m ay be corrected on appeal

         for any reason that appears in the record.H ow ever,the Courthere noted that in

         order for the doctrine to apply, ikthe record m ust be.sufficiently developed to
                              %
         support an alternative theory for afirm ance.''The Fourth D istrict previously held

         thatthere is a çûpresum ption of standing ifthe note attached to the Com plaintw as

         the sam e as the note attached to the com plaintw as the sam e as the note introduced

         attrial.''TheAppellateCourtrejected themortgagee'sargumentbecauseiithenote
         attached to the Com plaintw as nùtin the sam e condition as the originalintroduced

         at trial. And this A llonge, Exh. 19. w as signed by the A ssistant Secretary in

         V iolation of F1.Stat.692.01 which says only the President,V ice President or the

         Chief Executive Officer can sign an A llonge and no Secretary can ever sign an

*        A llonge F1.Stat.692.101 (3)(4)butthisillegalAllongoissignedbytheAssistant
                               $
          SecretaryW OW US BANK hasabsolutely NO STANDIND thesesPiratesarejust
          Stealing w ith the HELP ofthe Paid offJudges.




                                  %
    Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 71 of 99

    70
    6TH CAUSE O F ACTIO N :KEEPING NO TE ACTIV E FO R FAK E

    FO RCLO SURE A FTER NO TE IS SO LD ON THE M ARK ET AN D
                                                         *
'

    oEsrrRovEo AsGoVEREDBvTHE sEc ANo THEt;sDEP.oF
    THE TR EA SURY IN VIO LA TIO N O F G AA P FASB FA S TH E

                       FEDERAL 2CFR SECTION 200.49




         Thisiswhat1'm Quietingthe Title againstthe SEC,FannieM ae and the
         Treasury for.The FederalG A A P FA SB FA S 140 Rule saysthatw hen a

         N O TE is sold on the m arketasa security,theN ote m ustbe btlrned and
                           1

         destroyed and can neverbe asa tbreclosure instrum entbecause thatis

         SEC Fraud becausethe lR S hasw ritten the destroyed loss off,then the

         insurance paid the loss offand then sotd iton the m arket.The N OTE w as

         also separated from the m ortgage w hen the originalProm issory NO TE

         w asnotrecorded along w ith M ortgage atthe C ounty level.A dditionally,

         the M ortgage w as separated fkom the N ote w hen the Ioan w asbundled

         togetherw ith hundredsorthousandsol
                                           -otllerloansto create m unicipal
                                                             *
         bond tùnds,in ordgrto selland trade onW allStreet.W hen the O riginal
                                                         *
Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 72 of 99
                          %

71
     N ote w as bundled itw as destroyed and given a num berto presentothers

     form double-dipping,thatis,to preventothers fi-on)reselling the

     prom issory N ote again.By lealm ing thisintbrm ation,the originalw et
                                    '
     .


     blue ink prom issory N ote can notbe produced,because itw asdestroyed

     when itwasbundled togetherand putinto a securitized loan trustto sell

     and trade on w allstreet.'ro separate the N O TE from the m ortgage isto

     eollapsethetrust.SeeCarpenterv.Longan,83 U.% at274 (t-inding that
     an assignmentofthe M ol-tgagewithouttheNote isa nullityl;Landm ark

     Nat'lBank v.Kesler,216 P.3cll58,l66-67 (Ka1A.2009)(''lnthe Eventthat
     a m ortgage loan som ehow separates interestofthe N ote and the deed of

     trust,w ith the deed oftrustlying w ith som e independententity,the

     mortgagemay becomeunentbrceable'').See also 37 Fla.Jur.M ortgages

     and DeedsofTrust'240 (Onewho doesnothavethe ownership,
     possession,orthe rightto possession ofthe m ortgageand the obligation
                                                        s. .
                                                             *         x
         secured by it,m ay ootforeclosethe mortgage).''l-hem ortgagefollows
     the note.A n assignm entofthe Note earriesthe m ortgage w ith it,w hile

         an assignm entofthe lateralone isa nullity.''Capitollnvestors C4
                                                                        ,0.vs.

         Executors ofthe Estate ofM orison,484 F.2d 1157,1l63n.''W hen a note

         lssecured by a m ortgage isaksigned,the mortgage followsthe note into
    Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 73 of 99

    72
         the handsofthe m qrtgagee.''In otherw ords,the note isheld and ow ned

         by the certificate holders oftrust,and the m ortgage follow s the N ote.




                            %
         7tb C A U SE O F A C TIO N D A M A G ES A N D D EC LA R ATO R Y

         R ELIEF PUR SU A N T T O FA N N IE M A E ,AN D U S BA N K S,TH E

         O TH E R EN TITIE S IN W O LA TIO N O F FED ER AL C O D E 18 U .S.C .

         1962 AND 18 U.S.C.1964,18 U.S.C.1961 (B)SECTION 201,AS TO
                                       *
         .




                                    BR IBIN G JUD G ES




                                                             *
*
                             %

         U S Bank does not have an A llonge Signed by the President, V ice

         PresidentortheExecutive Directorin Violation ofF1.Stat.692.(3)and
          (4).And no Secreury can sign an Allonge which isan Assignmentto
          Convey Property F1.Stat.692.101 (3) and (4).And yet the Allonge
          (Assignmentto the,
                           promissoryNote)issignedby theAssistantSecretary
          w ho has absolutely no right to Sign an A llonge or an A ssignm ent to

             Convey Property aceordingtoFl.Stat.692.101(3)and(4)Andthe

                                1
Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 74 of 99

73
                                                     *

     HomecomingsAsWgnmentUS Bank this isthe wrong Bank,Exh.(112 )

     (113).Andthe CasewasDismissedwithPrejudieeby JudgeSarahZabel
     Exh.(11)andtheDocketdatedApril6th2009Exh (1l.andJudgeValerie
     M anno Schurrw ho w as neverA ssigned to ourCase butw asable to insert

     àFraudulentDismissalW ithoutPrejudicewith thehelp oftheConspiring
     Lawyers and the dlerk of the CourtHarvey Ruvin even though Judge
     V alerie M anno Schurr w asn't the Judge on the Case,a Judge w e have

     never m et and a Judge w e have never had a H earing w ith before but

     D ism issed the sam
                       : e Case that Judge Sarah Zabe1 D ism issed w ith

     Prejudice and when 1Confronted JudgeValerie M anno Schurrwith her
     $995,000,00 Contlictoflnterest,with GM AC,Exh.(114),which is US

     Bank,Exh.( 115).She said she did not sign that Order of Dismissal

     W ithoutPrejudice and afterthe taped Hearing she was heard by four
     svitnesses to say to the Conspiring Law yers of B lancR om e and Brock

      and Stock %ço h m y G od ldon'tbelieve you Law yers Signed m y nam e on

      an Orderlike that''Exh.(116).(fourAftsdavits).ind then two dayslater
                        %
      JudgeSchurrRecused herselfofftheCase,Exh.(100)which by Law the
      Case m ustRETU RN AN D REV ER T BA CK TO TH E O R IG IN AL
Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 75 of 99

74
     JUDGE SARA ZABEL'S DISM ISSAI.W ITH PREJUDICE.Exh.(11).
     N OW PR O PERTY W ITH TH IS N EW LY D ISCOV ERED EV IDEN CE.

     XND FRAIJD AND CONSTRUCTIVE CONSPIRACY OF JUDGES
     BEING PAID (CONFLICT OF INTEREST)BY U.S.BANK TO RULE

     IN THEIR FAVOY CAN BE REVISITED BECAUSE OFVIOLATION
     OF FEDERAL RULE 60 (B) (2) (4) (6) AND Fla.R.of Civ.Proc.
     1540 (b) (2) STANDING CAN BE QUESTIONED AT ANYTIM E

     FED ER A L RU LE 3.1 A N D B ECA U SE 131 FED ER AL JU D G ES

     W ER E CA U G H T W ITH        C ON FLICT S O F IN TER EST TH E

     REM ED Y PER SC RIBED W A S TH A T Y O U CA N R ESTA R T

     Y O U R CA SE TH E       13l JU D G ES EFFECTIN G         685 CA SE S

     N ATION W IDE CAU GH T IN THE N ET OF $ CON FLICT OF
                                                      *

     INTEREST CASE& GOOGLE TIIIS (SEE tJRL):



     H'I-'I-PS'//W W W .W SJ.CO M /AEJ'-lCl-ES/131-FEDERA L-JUD GESn
        ..   .   .
                                          z                        .   ...   .....




      BRO KE-TIIE-IeA W -BYrIC
                             IEA RING-CS SES-W IlERE-TIIEY-I;IAD-

      A-P'INANCIA L-IN'I-EItES'I'-I1632834421).
Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 76 of 99

75
     This is totalFraud,M ER S and U S Bank is breaking allLaw s to take

     ourproperty becapselasBlacksforTrump havê been treated bad with
     BLA CK M EG A D iscrim ination because of m e helping R epublicans

     from BU SH ,SC O TT TO TRU M P.N ew ly discovered evidence and

     fraud.




     éTH CAUSE OF ACTIO N VIOLA TION O F RESPA 12 U.S.C.2605

     (e)(1)(B)QUALIFIED W RITTEN REQUEST (QW R)TILA LAW S
     AND      IN   V IO LA TIO N    OF    TH E    ILIZEG AL     C O N SU M E
                       1
     COLLECTION IN VIOLATION OF FDCPA,15 U.S.C.j1692a(3),

     15U.S.C.j1692a(5)AND FLA.STAT.j559.55BY NOT

                    HONORING THE (QW R)REQUEST

     Because in the 2007 Case#'2007-12407-CA 01 M A CK W ELLS did a

     Q.W R Exh.t)Requestfor proof of ow nership of the N ote because U S
     Bank never fled a Com plaint in the beginning of the Case see the first

     page of the D ocket and never brought in the N ote, the A llonge, the
                                                      *


      M ortgageortheAlsignmentandwhenwerequestedtheDocumentsthey
      w ould neverbring them in for2 yearsand the Judge Sara Zabelbeing
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        frustrated and angry dism issed the Casewith Prejudiee Exh.l1and in the
        2010 Case they broughtin an A llonge w ith an assistantSecretary signing

         itand an A ssignm entw ith the w rong Bank and did a w hole ExhibitList.

        Exh.(201)with the'amountsdueandowing and a11ofthefakeproofthat
        wemissedpaymentsallbasedontheHomecomingsNote,(202)Exh.the
         only problem is w e never signed w ith H om ecom ings w e signed w ith
                                                                 *

         Axiom Bank,Exh.%@ OTE AND M ORTGAGE 204 AND 205)And a11of
         ourA xiom Bank paym ents were Paid and neverLate Exh.94.



         9TH C AU SE O F A CTIO N BA N K RU PTCY VIO LA TIO N W H A T TH E

         CLERK S D ID : IN TERFER ING W ITH FILIN G BAN K RU PTCY



         There w asinterference atthe Courthouse w hen w ew eretrying to file our

         Bankruptcy,w e w ere told thatatthe Stephen P.Clark building on the 12th floorw e

         were in thew rong building to bring Bankruptcy papers im to stop the Sale on any
*


         house how evertherew as a W om an standing rightbeside usw ho w asFiling her

         Bankruptcy papersand notonly thistherew ere actualsignsin the room where w e

         w ere atthatsaid File yourBankruptcy here.A lso took m y zm illion yachtw hile in

         Bankruptcy.Exh.(179)andseegodsz.com vid.#4o.im m ediately beneath the
                                          *
          .
         signature ofsuch person and the postoftice address ofeach such

         person islegibly printed,typewritten,orstamped upon such instrum ent
Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 78 of 99



     in violation ofF.S.695.01(1)AND F.S.695.26 (1)(a)and F.S.494.
     0075 (5)and F.S.701.02(1)(2)(3)Exh.178.And on ( )dateM ack
     Filed Bankruptcy and they refused to stop the sale ofthe house in
                                                      *

     Violation oftheFlderalStayCausing M ack W ellstogetSick.And
     the house w aspillaged.property w astaken outuntilthe Judge

     reversed it.Exh.( )


     lotbC AU SE O F A C TIO N D A M A G ES A N D D EC LA R ATO R Y

     XELIEF PURSUANT TO FANNIE M AE,U.S.BANK S AND ALL

     O F TH E O TH ER EN TITIES D lD B R IB E IN V IO LATIO N O F FED.

     923.18U.S.C.ss371FRAUD CONSPIRACY AND 18U.S.C.1964,
                        %

     18 U.S.C.1961 (B) SECTION 201,AS TO BRIBING JUDGES.


     Plaintiff incorporate a1lparagraphs inclusive,herein,as though set forth

     herein.ln 2007,and continuing,through the present,a11D efendants did

     cooperatejointly and severally in the commission oftwo (2)ormoreof
     the predicate acts thatare item ized in the Constructive Conspiracy law s

     at 18 U.S.C. j 1961(1) (A) Bribery of Judges by the Banks in

     ConstructiveConskiracyto stealproperty and(B)S ections 1028 as
    Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 79 of 99
                                                           *
@
    78
                             %

         to Fraud and the stealing of property 18 U.S.C.j 1961(1)
         (B)Section 1344, Financial Institution Fraud, 18 U .S.C.j

         1961 (l) (B)Section 1952,R acketeering 1957 and 18 U.S.C.j

         J961(1) (B)       S ection    .   1028   ld entification   F rau d    and

         F rau d ulen t D (?cu m ents         and did so in V iolation        of the

         CONSTRUCTIVE FRAUD Code 18 U.S.C. 1962(b) (Prohibited
         activitiesl.plaintiff further alleges that Defendants, DADE COIJNTY,
         CLERK OF THE COURTS,DADE COLINTY RCCORDS NOTARY'S,
         D AD E COIJN TY w ith all the rem aining D efendants,did com m it tw o

         (2) or more of the offenses itemized above in a manner which they
         calculated and prem editated intentionally to threaten continuity, i.e. a

         continuing threat of their '
                                    respective raeketeering activities, also in

         Miolation oftheCohstructiveConspiracy 1aw at18U.S.C.1962(b)supra.
         Atal1tim esherein,D efendants,on theirow n behalf,and on behalfofthe

         co-defendants and each ofthem Conspired w ith rem aining D efendants,to
                                                           *


         interferewith the(tuietenjoymentofPlaintiffshomeand stealtheequity
         in the Plaintiffs hom e through the use of sham pleadings,m anufactured

         éievidence'' such       as fraudulent    A FFID AV ITS, M O RTG A G ES,

         A SSIGN M EN TS,N O TA RY S in a civilcourtaction in orderto
Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 80 of 99

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     fraudulently obtain a Judgm entof Foreclosure U S Bank doesnothave an

     A llonge Signed by'the President,Vice Presidentorthe ChiefExecutive

     Ofticerin Violation ofF1.Stat.692.(3)and (4).And no Secretary can
     sign an A llonge w hich is an A ssignm ent to Convey Property Fl.
                                                      *

     Stat.692.10l(3)add (4).AndyettheAllonge(Assignmentto the Note)
     is signed by the A ssistantSecretary w ho has absolutely no rightto Sign

     an A llonge or an A ssignm entto Convey Property according to F1.Stat.

     692.101(3)and (4)And theHomecomingsAssignmentUS Bank thisis
     ihe wrong Bank,Exh.(180 ) (181 ).And the Case was Dismissed with

     PrejudicebyJudgeSarah ZabelExh.(182)andtheDocketdatedApril6th
     2009 Exh (183).and Judge Valerie M anno Schul'r who was never
     A ssigned to our Case but w as able to insert a Fraudulent D ism issal
                                                      *



     W ithoutPrejudicewith thehelp oftheConspiringLawyersandtheClerk
     of the Court H arvey Ruvin even though Judge V alerie M anno Schurr

     w asn'tthe Judge on the Case,a Judge w e have neverm etand a Judge w e

     have never had a H earing w ith befbre butD ism issed the sam e Case that

     Judge Sarah ZabelDism issed with Prejudice and when 1 Confronted
     Judge Valerie M anno Schurrwith her $995,000,00 Conflictoflnterest,

     with GM AC,Exh.(184),whichisUS Bank,Exh.(185).Shesaidshedid
Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 81 of 99

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     notsign thatOrder of DismissalW ithoutPrejudice and after the taped
                                                      *
                        %
     H earing she w as heard by four W itnesses to say to the Conspiring

     Law yers of BlancR om e. tto h m y G od l don't believe you Law yers

     Signed my nanae on an Order like that''Exh.(186).(four Affidavits).
     A nd then tw o days later Judge SchurrRecused herself offthe C ase,Exh.

     (187)which by Law the Case mustRETURN AND REVERTED CASE
     BA CK TO TH E ORIG IN A L JU D GE SA R A ZAB EL'S D ISM ISSA L

     W ITH PREJUDICE.Exh.(188).NOW THE PROPERTY W ITH THIS
     N EW LY D ISCOV ERED EV IDEN CE. A N D JR AU D AN D RICO

     CONSPIRACY OF JUDGES BEING PAID (CONFLICT OF

     INTEREST) BY US BANK TO RULE IN THEIR FAVOR CAN BE
     REVISITED BECAUSE OF VIOLATION OF FEDERAL RULE 60 (B)

     (2) (4) (6)AND Fla.R.of.Civ.Proc.1540 (b)(2) STANDW G CAN
     BE QU ESTION ED A T AN Y TIM E FED ERAL RU LE 3.1



 lltbC A IJSE O F A C T IO N :W R O NG FU L FO R E C LO SUR E D UE T O

      UNSIGNED MYRTGAGENOTE IN VlN VIOLATION OF
                                 FL .STAT .695.14
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 Thisisan actionbroughtby Plaintift-fordeclaratoryjudgment,injunetiveand
 equitable relief,and forcom pensatpry,special,generaland ptm itive dam ages      .




 Because M ERS nevergota legalA llonge from U .S.Bank because there w as
                          .




 no Leroy W illiam 'sA llonge orA ssignm entand neverexisted.So A xiom Bank

 did notA ssign the m ortgage to U .S.Bank W hich shows thatthis EV ICTIO N

misII.
     ,LEGAL TIIEIFT 01(THISPROPERTY.SowetheYlaintiff,homeowners,
 disputetheTitleand ownership oftherealpropet'ty in question (thettHome''),

 which isthesubjectofthisaction,inthattheoriginatingmortgagelender,and
 others alleged to have ow nership ofPlaintiffsm ortgage note and/orD eed of

 Trust,.have tm law fully assigned al-fd/ortransferred theirow nership and security

 intereslin Prom issory N öte and D eed ofTrustrelated to the Property,and,

 thus,do nothave a law fulow nership ora securityinterestin Plaintiffs H om e

 w hich is deseribed in detailherein Forfraud,lntentionalintliction ofem otional
                                                          *

-distress,rescission,decldratory reliefbased,on V iolations Ot-T.I.L .A .and

 R :E.S.P.A .,upon the fàcts and circum stances stlrrounding Plaintiffsoriginal

 loan by Leroy W illiam sthatw asquitclaim ed , Exh.112.'I'ransaction and

 stlbsequentsecuritization.D efkndant'sV iolationsofthese law s are additional

 reasonsthisCourtm ustquiettitle in Plaintiffsproperty and aw ard dam ages,




                          1
Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 83 of 99

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     rescission,declaratoryjudgment,andinjunetivereliefasrequested
     below'.



     12tb CA U SE O F A CTIO N :VIO LATIO N O F TH E 14TH A M END M EN T AND

     TH E CIV IL RIG H TS AC T O F 1964 TH A T PR O H IBITS DISCR IM IN ATIO N

     AN D D EPREV IATION O F RIG H TS U ND ER CO LO R O F LA W !TITLE 18

     U .S.C .SEC TIO N 242




     After judges fail to steal homes for banks, banks have paid
     Com m issioner Rene G arcia to help them ! Com m issioner Rene G arcia

     Sponsored Racist Legislation called Building wand U nsafe Structure
                        $

     Legislation #220166''discrim inately to help the Bankster's StealB lack

     People's H om e like m e.A nd like the D iscrim inating R acist he is they

     only Black used that legislation on Black (me)!On Easter April 17th,
     2022 D ade County Com pliance cam e into m y property w ithouta Search

     W arrant or the required Brake O rder from the County M anager and

     kicked in the bedroom doors w ith the police pointing guns had us kicked

     out the house at gun point and told us they w ere Seizing the house
                                                       *
     because it w as ah unsafe structure and turned off al1 pow er to the

     Property w ith a sick elderly person in the house in violation ofF1.Stat.
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                                                     *   07/14/2023 Page 84 of 99

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     366.15 (1) (2) under this Practicing racist discrimination with his
     Legislation to m ake it legal to steal hom es from us M inorities while

     getting paid by U .S.Bank another illegal Conflict of lnterest w hich is

     eviland outrageous!!!B ecause in C om m issioner G arcia's 2012,Exh.

     145.U ntiltoday Form 6 A ffidavits O ath from Tallahassee called FU LL

     AN D PU BLIC DISCLO SU RE O F FIN AN CIA L it show s on Part C .

     Liabilities section lines6 thathe got$120,000.0# and on line 8 he got
     $11,000.00 from A lly which is GM AC,Exh.117.W hich isthe Servicer

     and Owner of U.S. Bank and HOM ECOM INGS, Exh. (118). And
     GM A C is the ow ner of H OM ECO M IN G S, Exh. l19. A nd in

     Com m issioner Garcia's 2021 Form 6 A ffdavit O ath from Tallahassee
                                 *
     .




     Called FU LL AN D PU BLIC D ISCLO SU RE O F FIN AN CIA L it show s

     on line 3 that Garcia got $40,000.00 from Chase Bank which is U .S.

     B ancorp, Exh. 24. A nd U .S. B ancorp is U .S. B ank, Exh.14. A nd in

     Comm issioner Gqrcia's 2021 Form 6 Affidavits*oath from Tallahassee
     called FU LL     Ar     PU B LIC   D ISCLO SU RE     OF    FIN AN CIA L

     W TEREST itshowson line 5.ThatGarcia got$23,000.00 from N avient

     Bank w hich is JP M organ Chase Bank,Exh.66 and 122.A nd JP M organ

     is U .S.Bancorp,Exh.24,25.A nd U .S.B ancorp isU .S.Bank,Exh.14 and
    Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 85 of 99

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         47 and Exh.157 and 158.A nd in C om m issioner G arcia çs 2021 Form 6

         A ftidavits O ath from    Tallahassee called FULL       AN D    PU BLIC

         D ISCLO SUR E OF FIN AN CIAL IN TEREST it show s on line 6 that
*
         Garciagot$118,0+ .00from FirstBankwhiehisU.S.Bancorp,Exh.123
         and U .S.B ancorp us U .S.B ank,Exh. 14.A l1 these CON FLICTS O F

         W TEREST and allthe m oney he'sm aking isfrom the sam e G M A C -U .S.

         B ank w ho tried to Foreclose on us underM aek W ells,Exh.124,125 and

         126.But failed and after falling to Foreclose U .S.Bank's Conspirator

         M oney Partner Com'm issionerRene G arcia Sponsored a new Legislation
                                                    .




         called çibuilding and unsafe structure Legislation #2201665'To use Code

         Com pliance O ffcers and Police O fficers to illegally search and SEIZE
                                                          *

         the w hole Propeky without a W arrant or a Brake O rder or the
         Legislative ltem File N um ber 220166 for U nsafe Structures Required

         RecertiGcation N otiee to Ow ner for lnspection the Code Com pliance

         O ftieers and then afterillegally Search and SEIZIN G the W hole Property

         the Police gave a Fake W arrantthatshow s no tim e thatthe W arrantw as

         issued,no Judge's nam e,no Case N um ber,no D oc Stam p,no Certifed

         Stam p and on that Fake W arrant it never M entioned that Code

         Compliancecould Search andorSeizetheyjustcxmeintheHouseand
                           %
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                           %
       Property and announced they have Seized our H ouse for U nsafe

       Structure.But untilthis day w e have gone to their O ffice alm ost every

       day to check and they don'thave an lnspection R eportyet,allunderthis

       new U nsafe Structure Legislation by Com m issioner Garcia w ho has got

       this great Contlict of Interest to help U .S.B ank take our house under

       ColorofLaw in V iolation oftheir ow n Code O rdinance Legislative ltem

       File N um ber 220166 for U nsafe Structures Required R ecertifcation

       Notice to Owner for Inspection (F) (2) (D) fmm Dade County!The
                          %

       plaintiffhave notprovided a ''billofparticulars''.The purpose ofa billof

       particulars is to içm inim ize surprise at trial,''according to the U .S. 11th

       Circuit Courtof A ppeals,w hich oversees federalcrim inaltrials here in

       Florida.This process also eqsures the governm ent does nottry to retry

       the defendant latef for the sam e basic offense. The Plaintiff has not

       provided a ''m otion for m ore defsnite statem ent''w hich is the m odern

       equivalent of a billof particulars The plaintiff has not bonded the case.

       (form 274 and fgrm 275 for state cases) pezformance BOND and

       indemnity BOND The plaintiff 14AS caused and exceeded three (3)

       njuriesagainstthedefendant.
     1.The defendantw as inform ed thatthe signing ofcertain docum ents w ould
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     2.lead to the allotm entoffinancialresources foracquiring the property
                                   ''
       .




       underquestion.2.The plaintiffhasfailed to rem itFederalTaxesasper

       the requisiteregulations.Theoriginalnote(Loan Application)and
       Plaintiff(BANK)opened an unauthorized accountin the nameofthe

       defendantts)      1

       3..forthe fullam ountofsaid property w ithoutdefendantsknow ledge and

       funded an unauthorized accountin the plaintifr snam e.W hich isfraud.


       4.PlaintiffBank sold originalnote (Loan Application)which iswhat

       paidforsaidproperty infullviaFED-W IRE.Yetthedefendant(Buyer)
       w asnotgiven any consideration.The buyertakeson the role ofcreditor

       w hen they m ake the paym entfortheirhom e using a prom issory original

       note,in thiscase being the LOAN A PPLICA TION .Thisisto ensure that
                         %

       the sellerreceivespaym entIN FU LL.Such know ledge w asnever

       disclosed to the (DEFENDANT)buyer.M oreproofofthisevidenceand
       treason isthe factthatbanks can N O T lead m oney,only congresscan

       w rite lettersofm arque and lqttersofcredit.O fficialrepresentativesof

       said banksincluding the pep etratorsinvolved now risk being nam ed in

       this TAX m atter.Upon notification,the InternalRevenue Service w ill
Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 88 of 99

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         w ish to determ ine the w hereabouts ofthe principalfunds from the initial
                                                  .        *
         loan agreem ent(LOAD APPLICATION )thathav been held back

         (SPENT)andnotreported.



         13TH CAU SE O F AC TIO N VIO LATIO N O F TH E 1958

         FO R EIG N S A G E N T S R E G ISTM TIO N A C T F.A .R .A .

         FED ER AL R ESE R V E FO R EIG N BA N K IN G LA W S


         ln the 1958 FederalReserve Board ruling ttBank J-lolding
                            %

         Companies'',ti.e.u.s.Bank and W ellsFargo),and NationalBanking
 '
     .   U .S.Bank is ow ned by China through the China Investm ent

         Corporation,Exh.172-175 Regulated by FA RA and can'tForeclose in

         State Courtonly in Federal C ourt
                                      .




     .   A ssociations,are notperm itted to investin,norow n a tim ortgage
                            .




         com pany''thatdealsdirectly w ith the generalpublic.A dditionally,the

         Board clarified thattçbanking activities such asreceiving deposits,

         paying checks,extçnding credit,conducting a tûtruqtdepartment'',finding

         investorsto purchase m ortgage loans from the bank and seeking to have

     @
                        *

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88

     such investors contractw ith the bank forthe servicing ofsuch loans.and

     the like,are financialin nature,restricted to m em berbankçbranch
                                  '
     .

     banking''lz U .S.C.615,otdside the united states.perm issible activities

     fortçloan servicers''otherthan m em berbank transaction arettauditing,

     appraising,investm entcounseling''and tçadvertising,public relations,

     developing new business,organization,operationszpreparing tax returns,
                        %
     andpersonnel,''subjectto 12U.S.C.1843,outsidetheunited states.

                                      SO U RC E


     12 C.F.R.j 225.122 Bank holding company ownership ofm ortgage

     companies...l)..''The two exceptionsprincipally involved in thequestion

     jresentedarewithrespectto(1)stockthatiseligibleforinvestmentbya
     nationalbank (section 4(c)(5)ofthe Act)and (2)sharesofacompany
     idfurnishing services to orttperform ing services''fbr
                                                          *
                                                            such bank holding
                        %
     company oritsbanking subsidiaries''(section 4(c)(1)(C)ofthe Act)''....g
     l..-l-hereisno specific statutory provision authorizing anationalbank to
     purchase stock in a Sçm ortgage com pany'',and in the Board'sview such

     purchase m ay tçnot''properly be regarded as atlthorized underthe
                                  *
     .




     çtincidentalpowers''clause....g1
                                    *..Thebasicpurposeofsection4 ofthe
Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 90 of 99

89

     A ctisto contsne a bank holding com pany'sactivitiesto the

     ttmanagement''and ttcontrol''ofbanks....l'l..the Board hasconcluded that
     the appropriate testfordeterm ining w hethera m olgage com pany m ay be
                         %

     considered as w ithin the servicing exem ption isw hetherthe com pany

     w illperform asprincipalany tdbanking activities'' such asreceiving

     deposits,paying checks,extending credit,conducting a tttrust

     departm ent'',and the like.ln otherw ords,ifthe m ortgage com pany isto

     actmerely asanadjuncttoabank forthepurposeoffacilitatingthe
     çsbanks operations'',the com pany m ay appropriately be considered as

     within the scope oftheservicing exemption....l1..On theotherhand,in
                                                           *

     the Board'sview ,adbank holding com pany m ay notacquire,on the basis

     ofthe servicing exem ption,a m ortgage com pany whose functions

     include such activitiesas extending creditforitsow n account,anunging

     interim financing,entering into m ortgage service contracts on a fee basis,
                                    *
     -

     orothenvise perform ing tklnctionsotherthan solely on behalfofa

     bank....gj..The 1933 enactmentof12 U.S.C.335,12 U.S.C.371d,
     prohibitany tûfsnancialtransaction,''or investm ent,otherthan a Sçm em ber

     bank transaction.''Subject'
                               .Nojurisdiction ..Noinvest*mentin ûûprivate
                         t
     residentialrealproperty''in the United States,12 C.F.R .1500,no deposittaking
    Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 91 of 99
                              %
    90
         from an A m erican citizen,12 U .S.C .378,12 U .S.C.1862,12 U .S.C .3102,no

         foreclosure oftçprivate residentialrealproperty''in the U nited States,12 C.F.R.

         225.28,no dliens''on realproperty in the United States 12 C .F.R .211.4,no banking

         in the U nited States Public Law 89-485 section 3,no realestate loansin the United

         States,Public1aw 89-485section6(h),12U.S.C 29,12U.S.C.375b.nobranching
         in the United States 12 U .S.C .36,extension ofcredithasto secured by a collateral

         depositof 100% in cash 12 C .F.R .215,no hom e loansto individualsH OLA of

         1933,no securitiesorhedge fund investm entin the United States 12 U .S.C.1850,
                              %
         no creditinterm ediaries in the U nited States 12 C .F.R.225.28,no bank holding

         com panies in the U nited States,12 U .S.C.1843,no savings and loan associationsin

         the U nited States 12 C .F.R .225.28,no studentloansfrom an IndustrialLoan

         company,(SallieM ae),12 C.F.R.225.28,nohousing loansin theUnited States,12
         U .S.C.1432b,no evictions from private residentialrealproperty in the U nited

         st
          ,
           ates underHUD,(O'
                           verseasPrivateInvestmentCorporation)22U.S.C.2183,no
         state courtproceedings 12 U .S.C.632,the realparty ofinterestisthe Bank for

         InternationalSettlem ent,Rothschild owned 12 U .S.C.3105;12 CFR Part1500 -

*        M ER CHAN T BAN KIN G INV ESTM EN TS-Authority:F2 U.S.C.1843(k).cata11
                               %

         attorneys working forU S Bank m usthave a foreign agentsLicense w hich iswhat

         wearerequestingrightnow (foreignagentLicenseF.A.R.A.)from theirAttoneys.
         U .S.Bank,the ClC and theirA ttorneys are breaking allthe law especially against

         ourproperty 15020 South R.Dr.M iam iF1.33167.U .S BAN K V S M ACK W ELLS
                                          '
          .

         2010-61928-CA01 DA DE COUN TY FL .
Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 92 of 99



        14thCAUSE 0 14ACTIO N TURNING OF ELECTRICAL

     PO W ER TO A D ISA BLED PER SO N IN N EED O F O X Y G EN IN

     V IO LA TIO N O F FL.STA T . 366*15 (1)(2)APRIL,22ND 2023
                                                        *
                        %


                       FLO R ID A PO W E R A N D LIG H T




     (FPL)w as ordered By Rene G arcia's N ew Legislation of U nsafe
     Structures#220166 To Turn OffThe Pow erTo The H ouse Because They

     W ere Going To Demolish ltln Violation of F1.Stat.366.15 (l) (2)
     W hich Says Y ou Cannot Turn O ff The Pow er To A H ouse To A
                                                        *

     D isabled Person W%h
                         o N eeds O xygen Y et They D id lt Anyw ay A nd

     A lm ostK illed M ack W ells W ho H ad To Go To The H ospital Because

     H e Could N otBreath See G odszocom V id.H .



         15thCA U SE O F A C TIO N :TH E C O N SPIR IN G LAW Y ER S:N EVER

         BRO U G H T IN N O TE,A LLO N G E,M O RTG A G E O R A SSIG N M EN T

     BECA U SE TH EY DO N 'T H AVE IT,IN V IO LA TIO N O F FL.STA T.702.015



                        1
Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 93 of 99

92
     Judge zAssc paxlcltso and Ordered U S Bank's A*ttorneys to bring in the

     Original N otes and M ortgage and ZA BEL Cancelled the Foreclosure Sale

     SCHED ULED FO R 9/12/2007 until they brought in the Original N ote and

     M ortgage.But afterthe JUDGE (ZABEL)Cancelled the Foreclosure Sale setfor
     9/12/2007 som ehow those tricky Law yers got the Clerk to do the Sale anyw ay

     against Judge ZA BEL'S O rder so we had to rush back to the Court to get an

     Em ergency hearing to tellJudge ZA BEL thatthe LA W Y ERS and the Clerk did the

     SA LE anyw ay against her Order and the Judge was very upset and ordered the

     Attorneys ForU S BA N K N A to do a M otion to Canceltlw sale.A nd then the Judge
                         1
     ZA BEL Ordered and D em anded thatthey bring in the OriginalN ote and M ortgage

     because now Judge ZA BEL w as now in the Position to get in Trouble for doing a

     FinalJudgem entw ithout Certified Copies ofthe N ote and M ortgage and w ithout

     the OriginalNote and M ortgagethatisRequired by Florida Statute 702.015 (4),in
     otherwordsthese Clownswere'justIllegally going to take ourproperty butgot
     Caught!Judge ZA BEL O rdered the A tty's to go getthe Docs.Thatthey said they

     had, then Judge ZA BEL took a Court Recess and during the break from the

     Courtroom U S Bank Lawyers Refused to go back into the Courtroom thisupsetthe

     Judge butJudge ZA BEL gave them tim e to bring in the N ote and the M ortgage but
                         %

     they would notdo so thereforeweputin a M otion to Dismisswith Prejudicewe
     w ent back and forth w ith the Judge and the Banks A ttorneys but they w ould not

     follow the Judge SAR AH 1.ZA BEL'S O rder to bring in the N ote and Order and

     thereforejudgeZABEL DismissedtheCasewithPrejudice,Exh.177.-thetenth
Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 94 of 99

93
     line of the 2007 Called Case N um ber 2007-12407-CA 01 of the Docket.A nd then
                                   *
     .



     Judge ZA BEL said that it w ould show on the D ocket in a few days w hich was

     04/07/2007.Of that sam e Docket!!im m ediately beneath the signature of

     such person and the post- office address of each such person is legibly

     printed, typew ritten, or stam ped upon such instrum entin violation of
                         1

     F.S.695.01(1)AND F.S.695.26 (1)(a)andF.S.494.0075 (5)and F.S.
     701.02(1)(2)43)Exh.178.



     W H ER EFO R E PLM N TIFFS PR AY A S T O A LL D EFEN DA N T S

     W H EREFORE Plaintiff Prays that this honorable Court aw ard her

     dam agesfor the claim s setforth herein including litigation lees and costs.

     on April23,2007,and continuing,through the present, a11D efendants
                                                          *
                         %
     didcooperatejointly and severally inthecommissionof



     CON STU CTIVE FRA UD AX IOM A TICA LLY the predicate acts that

     are item ized in the CON STUCTIVE FRAUD lawsat 18 U .S.C.jj 1961

     (1)(A) and (B),.and did so ln Violation of the AXIOM ATI
     CONSTUCTIVE FRAUD law at18U.S.C.l962(b)(Prohibited

                                                          *
Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 95 of 99

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     activities).Plaintiff further alleges thatDefendants,U.S.BANK,THE
     JUDGES, LAW YERS, CLERKS, COMM IOVERS AND OTHER
     OFFICIA LS on their ow n behalf,and on behalfofthe Co-D efendants,in

     conjunction with and in furtherance of the conspiracy with all the
     rem aining D efendants, did com m it CON STU CTIV E FR AU D item ized

     àbove in a manner which ihey calculated and threat of premeditated
     intentionally to threaten continuity, i.e. a continuing their respective

     racketeering activities,also in violation ofthe CON STU CTIV E FR AU D

     RICO 1aw at18 U.S.C.1962(b)supra.Atal1timesherein,defendants,on
                                                       *
                       %
     their ow n behalf,and on behalf of the co-defendants,and each ofthem ,

     conspired w ith rem aining defendants, to interfere w ith the quiet

     enjoyment of Plaintiffs home;stealthe equity in the Plaintiffs home
     through the use of sham pleadings, m anufactured çtevidence'' such as

     fraudulentaffsdavits in a civilcourtaction in order to fraudulently obtain

     ajudgmentofforeclosure,W herefore Plaintiffseeksreliefasaccorded
     by the applicable Statute, including, but not lim ited to: Statutory

     Com pensatory dam ages for each separate violatl n according to proof;
                       1

     Exem plary dam ages foreach separate violation based on the netw orth of

     theD efendantson theirow n behalf,and on behalfofthe C o-D efendants
Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 96 of 99

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     Declaratory relief, including permanent injunctive relief, prohibiting
     thesedefendants,orany oftheiragents orassigns,from any according to

     prootl Such other and further reliefasthe court deemsjustand proper.

     Pursuantto j768.72 (2002),SLA.STAT.,Plaintiffreservesthe rightto
     am end this com plaint to add a prayer for punitive dam ages upon a

     show ing of evidence in the record providing a bajis forrecovery of such
                        %
     dam ages.Plaintiff w illhave no other Plain, speedy or adequate rem edy

     than the injunctivereliefprayed forbelow isnecessary'and appropriate
     at this tinAe to preventirreparable loss toplaintit-f.Plailltiff has suffered

     and w ill continue to suffer in the future unless detkndants wrongful

     conduct is restrained and eqjoined because real property is inherently
     uniqtle itw illbe im possible forPlaintiffto determ ine the precise am ount

     of dam age it w illsuffer.M EM OR AN D UM OF LA W The D efendants

     m aintains tim ely C onstitutional due process civil*rights for Florida R ule
                        %


     2.160 (H)and FederalRule 60 Reliefto close thiscase with the original

     Dismissalwith Prejudicein ourTHE PLAINTIFFS Favorwho werethe
     D efendants fake foreclosure Plotw ith the requirem entofV alerie Schurr

     R ecusal based on exposed inancial contlicts of interests Fla.

     Stat.l12.312(8)(9)..Rule2.160(H)andFRCP Rule60,relieffrom



                                                         *
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     Judgm entorO rder and to V acate her O rder.There is to be no contlictof

     interestw ith the Judge and the PlaintiffagainstD EFEN D AN TS.LIK E 3.

     Fraud whether preyiously called intrinsic or extrrnsic,m isrepresentation

     or m isconduct by an O pposing party A Judge is expected to Recuse

     herself according to Fla.Code Jud.Conduct,Canon 3E (1),Fla.Rule

     2.160 (A)(H),Fla.Statute 112.312 (8)and pursuantto 28 U.S,C.j 455
     Under j 455(a),Recusal ig mandatory in çlany proceeding in which
     Jpdge's im partiality m ight reasonably be questioned.''U nder Fla.Code

     Jud.Conduct, Canon 3E (1) and j 455(b), a judge is expected to
     disqualify herself w henever any ofthe tive statutorily prescribed criteria

     can be show n to ekistin fact;even ifno m otion or afGdavitseeking such

     relief has been Eled, and regardless of w hether a reasonable person

     would question thejudge'simpartiality.Fla.CodeJud.Conduct,Canon
     3E(1),Fla.Rule 2.160 (A) (H),Fla.Statute 112.312 (8) and Section
     k55(b)he shallalso disqualify him selfin the following circumstances.

     REQUIRED RELIEF Pursuant to Fla.Code Jud.Conduct,Canon 348

     (1),Fla.Rule 2.160 (A)(.
                            H),Fla.Statute 112.312 (8)and FederalRules
     ofC ivilProcedure R ule 60,Plaintifl-requires Relief from the June.Final
                                                       *
                       %
     judgmentOrder Exh.(193).baseduponthestated facts,justterms,cited
    Case 1:23-cv-22640-JEM Document 1 Entered on FLSD Docket 07/14/2023 Page 98 of 99
@

    97
         m isconduct,Rule 60 grounds and new ly discovered banking realestate

         fraud by courtofticers.Said Reopening Reliefw ould require the vacating

         ofhisorderand R ecusalofJudge V alerie Schurr from this and any future
                                     ''
         .

         related U .S. BA N K banking real estate cases in this D istrict. The

         D ism issalO rderRelief also requires thata11partiesbe reinstated to their

         priorpositions in thisaction (Dismissalwith Prejudice)requiring Clerk
         issuance of Sum m ons upon the D efendants and* allow the filing of a
                            %
         M otion to dism iss the Final Judgm ent fOr cause, grounds and reasons

         stated herein filed.




          Thiswillbea vely fllnou.
                                 gCasebecause itgoesalong with MATT.
         24:12 when Jesuibeatthe m oney changers (Bankers) outof the

             Tem ple and said this will no longer be a Tem ple of M oney
             Changers (Bankers) Thievesand Robbers(Lawyers)butthiswill
                                                           *

                            %
             be the Temple of Prayer. Biblically the Temple wt'.
                                                               ç the
             Governm entCenter wherein the Elders the Priest and theJudges

             received ties and offerings and received complaints from the
             Citizens wherein theludgesreside overthose Complaints and
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     every Com plaint ended w ith m y ''Prayer is,'' 'M y prayer is that

     because they did this,they have to give m e that''so w e'regoing to

     stop the Banksters from stealing our Property w ith our
     Complaints to thp higherJudges (FederalJûdges) so lpray that

     you asJudge recognizing thatyou have m ade m oney with these

     willrecuseyourselfand notallow these Lawyersto trickyou into
     being oneof thoseto take thefalllikeJudge ValerieM anno Shurr
     andludge Vivianne DelRib whogotsm artandgotoutthe wtl.y so

     m ustyou accordlng to FederalRule of civilprocedure 60 and Fl.

     RuleofCivilprocedures2.160 (H)(0(1)


                                                                    CQ- .'r :   v


                                               ,           w 'P,p               '
                   /1 ,y
            M A CK W ELLS                          4 U RICE SY M ON ETTE
            15020 S.RIV ER D R .                    15020 S.R IV E R D R .
            M IA M I FL .33167                       M IA M I F1..33167
